      Case 08-35653-KRH            Doc 3364 Filed 05/16/09 Entered 05/17/09 01:16:35                          Desc
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                                        United States Bankruptcy Court
                                              Eastern District of Virginia
                                                  Richmond Division
                                                 701 East Broad Street
                                                 Richmond, VA 23219
                                                            Case Number 08−35653−KRH
                                                            Chapter 11
                                                            Judge Kevin R. Huennekens
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Circuit City Stores, Inc.
 9950 Mayland Drive
Richmond, VA 23233

Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: NA
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: 54−0493875


   NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO RESTRICTION AND
                                    REDACTION


A transcript was filed on May 14, 2009 in the above−referenced case, event text as shown below:

Transcript filed Re: Hearing Held 4/28/2009, Remote electronic access to the transcript is restricted until 08/11/2009.
The transcript may be viewed at the Bankruptcy Court Clerk's Office. [For information about how to contact the
transcriber, call the Clerk's Office] or [Contact the Court Reporter/Transcriber J&J Court Transcribers, Inc.,
Telephone number 609−586−2311.] [Transcript Purchased by Karen Cain / McGuire Woods.] (RE: related
document(s) [3165] Matter partially resoloved; Hearing continued, [3166] Hearing held; counsel advises Court that
movant will be withdrawing motion, [3167] Hearing held; counsel advises Court that movant will be withdrawing
Application, [3175] Hearing held; objection resolved per debtors' counsel, [3192] Hearing held; no objections filed;
MOTION GRANTED; order to be submitted, [3193] Hearing held; parties agree to entry of order denying motion;
order has been submitted, [3194] Hearing held; no objections filed; MOTION GRANTED; order to be submitted,
[3196] Hearing held; MOTION GRANTED, with changes as noted in open Court to be noted in revised proposed
order, [3197] Hearing held; no objections; MOTION GRANTED; order to be submitted, [3199] Hearing held;
informal objection by Old Republic resolved; Privacy Ombudsman to be added to service list per request of U. S.
Trustee; MOTION GRANTED, with changes as noted in open Court; order to be submitted). Notice of Intent to
Request Redaction Deadline Due By 05/20/2009. Redaction Request Due By 06/3/2009. Redacted Transcript
Submission Due By 06/15/2009. Transcript access will be restricted through 08/11/2009. (Bowen, James)



     The parties have [until May 21, 2009] [seven (7) calendar days from the date of filing of the transcript] to file
with the court a Notice of Intent to Request Redaction of this transcript. The deadline for filing a request for
redaction is [ June 4, 2009] [21 days from the date of filing of the transcript].

     If a request for redaction is filed, the redacted transcript is due [ June 15, 2009] [31 days from the date of filing
of the transcript].

     If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of
the restriction period, which is [ August 12, 2009] [90 calendar days from the date of filing of the transcript] unless
extended by court order.

     To review the transcript for redaction purposes, you may purchase a copy from the transcriber or you may view
the document at the clerk's office public terminal.
                                                           William C. Redden
                                                           Clerk, United States Bankruptcy Court
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[ntctranredact.jsp 3/2009]
        Case 08-35653-KRH         Doc 3364 Filed 05/16/09 Entered 05/17/09 01:16:35                   Desc
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                         CERTIFICATE OF NOTICE
District/off: 0422-7           User: jafarbayj              Page 1 of 27                  Date Rcvd: May 14, 2009
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cr           +Audio Innovations Inc.,    Attn: Francisco Moreno,      133 N.E. 91st St.,
               Kansas City, MO 64155-3329
cr           +BBP-Muncy LLC,    c/o Sands Anderson Marks & Miller, P.C.,      P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +BPP Conn LLC f/k/a WEC 95 Manchester Limited Partn,      c/o Sands Anderson Marks & Miller,
               PO Box 1998,    Richmond, VA 23218-1998
cr           +BPP-NY LLC,    c/o Sands Anderson Marks & Miller, P.C.,     PO Box 1998,     Richmond, VA 23218-1998
cr           +BPP-OH LLC,    c/o Sands Anderson Marks & Miller, P.C.,     PO Box 1998,     Richmond, VA 23218-1998
cr           +BPP-Redding LLC,    c/o Sands Anderson Marks & Miller, P.C.,      PO Box 1998,
               Richmond, VA 23218-1998
cr           +BPP-SC LLC,    c/o Sands Anderson Marks & Miller, P.C.,     PO Box 1998,     Richmond, VA 23218-1998
cr           +BPP-VA LLC,    c/o Sands Anderson Marks & Miller, P.C.,     PO Box 1998,     Richmond, VA 23218-1998
cr           +BPP-WB LLC,    c/o Sands Anderson Marks & Miller, P.C.,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +Baker Natick Promenade LLC,    Sands Anderson Marks & Miller, P.C.,       Post Office Box 1998,
               Richmond, VA 23218-1998
cr           +Bank One Delaware, National Association n/k/a Chas,      c/o Michael A. Condyles, Esquire,
               Kutak Rock LLP,    1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
intp         +Barbara Gillis,    340 Pinetree Drive,    Indialantic, FL 32903-2640
cr            Basile Limited Liability Company,     c/o Hirschler Fleischer PC,     c/o Michael P. Falzone,
               P.O. Box 500,    Richmond, VA 23218-0500
cr           +Bell Canada and 4458729 Canada, Inc,     c/o Virginia Robinson,     Greenberg Traurig LLP,
               1750 Tysons Boulevard, Suite 1200,     McLean, VA 22102-4211
cr           +BevCon I, LLC,    c/o Lisa Taylor Hudson,    Sands Anderson Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,     Post Office Box 1998,     Richmond, VA 23218-1998
desig        +Bruce H. Besanko,    9950 Mayland Drive,    Richmond, VA 23233-1463
cr           +Bruce Senator,    #F-99302, CA Men’s Colony,     State Prison, PO Box 8101,
               San Luis Obispo, CA 93409-0001
cr           +Burbank Mall Associates, LLC,    c/o Paul S. Bliley, Jr.,      P.O. Box 1320,
               Richmond, Va 23218-1320
cr           +CBL & Associates Management, Inc.,     c/o Kimberly A. Pierro, Esquire,      Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +CC Countryside 98 L.L.C.,    c/o Paul S. Bliley, Jr.,     P.O. Box 1320,     Richmond, Va 23218-1320
cr           +CC Countryside 98, LLC,    c/o Paul S. Bliley, Jr.,     P.O. Box 1320,     Richmond, Va 23218-1320
cr           +CC Indianapolis 98, CC Jackson 98, CC Harper Woods,      c/o Deborah H. Devan, Esquire,
               One South Street, 27th Floor,    Baltimore, MD 21202-3298
cr           +CC Wichita Falls 98, L.L.C.; CC Ridgeland 98, L.L.,      c/o Paul S. Bliley, Jr.,     P.O. Box 1320,
               Richmond, Va 23218-1320
cr           +CC-Investors 1996-6,    c/o Kamin Realty Company,     490 South Highland Avenue,
               Pittsburgh, PA 15206-4274
cr           +CC-Investors 1997-4,    c/o Paul S. Bliley, Jr.,     P.O. Box 1320,     Richmond, Va 23218-1320
cr           +CP Management Corp. as agent for Orland Towne Cent,      c/o Robert D. Tepper,
               311 South Wacker Dr.,    Suite 5125,    Chicago, IL 60606-6657
cr           +CSI Construction Company,    c/o Lisa Taylor Hudson,     Sands Anderson Marks & Miller,
               Post Office Box 1998,    18th Floor,    Richmond, VA 23218-1998
cr           +California Self-Insurers’ Security Fund,     c/o Gina M. Fornario,      Nixon Peabody LLP,
               One Embarcadero Center,    18th Floor,    San Francisco, CA 94111-3667
cr           +Cameron Bayonne, LLC,    c/o Menter, Rudin & Trivelpiece, P.C.,      Attn: Kevin M. Newman, Esq.,
               308 Maltbie Street, Suite 200,     Syracuse, NY 13204-1439,     U.S.A.
cr           +CapTech Ventures, Inc.,    c/o Richard E. Lear,     Holland & Knight LLP,
               2099 Pennsylvania Avenue, NW,    Suite 100,     Washington, DC 20006-6801
cr           +Caparra Center Associates, S.E.,     Attn: Penny R. Stark, Esq.,      17 Bon Pinck Way,
               East Hampton, NY 11937-3001
cr           +CarMax, Inc.,    12800 Tuckahoe Creek Pkwy,     Richmond, VA 23238-1124
cr           +Cardinal Court, LLC,    c/o Sands, Anderson, Marks & Miller, P.C,       Post Office Box 1998,
               801 E. Main Street,    Suite 1800,    Richmond, VA 23219-2906
intp         +Carmax Business Services, LLC,    c/o Paul S. Bliley, Jr.,      P.O. Box 1320,
               Richmond, Va 23218-1320
cr           +Carnegie Management and Development Corporation,      c/o John D. McIntyre,     Willcox & Savage, P.C.,
               One Commercial Place, Suite 1800,     Norfolk, Va 23510-2197
cr           +Carousel Center Company, L.P.,    c/o Menter, Rudin & Trivelpiece, P.C.,
               Attn: Kevin M. Newman, Esq.,     308 Maltbie Street, Suite 200,      Syracuse, NY 13204-1439,
               U.S.A.
cr           +Charlotte (Archdale) UY, LLC,    c/o Menter, Rudin & Trivelpiece, P.C.,
               Attn: Kevin M. Newman, Esq.,     308 Maltbie Street, Suite 200,      Syracuse, NY 13204-1439,
               U.S.A.
cr            Chatham County, GA Tax Commissioner,     c/o William A. Gray, Esquire,
               Sands, Anderson, Marks & Miller, P.C.,     801 East Main Street, Suite 1800,      P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +Chino South Retail PG, LLC,    David K. Spiro, Esq.,     Neil E. McCullagh, Esquire,
               Cantor Arkema, P.C.,    P.O. Box 561,    Richmond, VA 23218-0561
intp         +Christopher Borglin,    c/o Sands Anderson Marks & Miller PC,      P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +Circuit Sports, L.P.,    Weycer, Kaplan, Pulaski & Zuber, PC,      c/o Edward L. Rothberg,
               11 Greenway Plaza, Suite 1400,     Houston, Te    77046-1130,    UNITED STATES
cr           +Citrus Park CC, LLC,    c/o Lawrence H. Glanzer, Esq.,     580 E. Main Street, Suite 300,
               Norfolk, VA 23510-2322
cr            City of Cedar Hill, Burleson ISD, Arlington ISD,      PO Box 13430,     Arlington, TX 76094-0430
cr           +City of Coral Springs,    Sherry Whitacre, Esq.,     9551 West Sample Road,
               Coral Springs, FL 33065-4182
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cr            City of Hurst, Mansfiled ISD, Carroll ISD,      PO Box 13430,   Arlington, TX 76094-0430
cr            City of Lake Worth,    PO Box 13430,    Arlington, TX 76094-0430
cr           +City of Overland Park, Kansas,     Attn: Law Dept.,    8500 Santa Fe Drive,
               Overland Park, KS 66212-2899
cr           +Cleveland Construction, Inc.,     c/o Daniel Wireman, Esq.,    5390 Courseview Drive,
               Mason, OH 45040-2333
cr           +Cleveland Towne Center, LLC,     Miller & Martin PLLC,    c/o Nicholas W. Whittenburg,
               832 Georgia Avenue,    Suite 1000,    Chattanooga, TN 37402-2289
cr           +Cobb Corners II, Limited Partnership,     214 North Tryon Street,     Suite 4700,
               Attention: Amy Pritchard Williams,     Charlotte, NC 28202-2367
tor          +Cobra Electronics, a Delaware Corporation,      6500 West Cortland,    Chicago, IL 60707-4013
cr           +Cole CC Aurora CO, LLC,    c/o Kimberly A. Pierro, Esquire,     Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +Cole CC Groveland FL, LLC,    c/o Peter J. Barrett,     Kutak Rock LLP,    1111 E. Main Street,
               Suite 800,    Richmond, VA 23219-3521
cr           +Cole CC Kennesaw GA, LLC,    c/o Kimberly A. Pierro, Esq.,     Kutak Rock LLP,
               1111 East Main Street,    Suite 800,    Richmond, VA 23219-3521
cr           +Cole CC Mesquite TX, LLC,    c/o Kimberly A. Pierro, Esquire,     Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +Cole CC Taunton MA, LLC,    c/o Kimberly A. Pierro, Esquire,     Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +Cole Capital Partners, LLC,    c/o Michael A. Condyles, Esquire,      Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
mvnt         +Colonial Heights Holdings, LLC,     c/o Peter M. Pearl, Esquire,
               Sands Anderson Marks & Miller, P.C.,     801 E. Main Street, Suite 1800,     (Post Office Box 1998),
               Richmond, VA 23218-1998
cr           +Colorado Structures, Inc. dba CSI Construction Co.,      McDonough Holland & Allen PC,
               c/o Mary E. Olden/Sean Thompson,     555 Capitol Mall,9th Floor,     Sacramento, CA 95814-4692
cr            Columbia Plaza Joint Venture,     Columbia, MO
cr           +Condan Enterprises LLC,    c/o Siller Wilk LLP,     675 Third Avenue,    New York, NY 10017-5704
cr           +Congressional North Associates Limited Partnership,      2701 Tower Oaks Blvd,    Ste 200,
               Rockville, MD 20852-4239
cr           +Cormark, Inc.,    1701 Winthrop,    Des Plaines, IL 60018-1941
cr            County of Kern, State of California,     c/o Treasurer/Tax Collector’s Office,
               Attn: Angelica Leon,    PO Box 579,    Bakersfield, CA 93302-0579
cr            County of Loudoun, VA,    c/o Belkys Escobar, Asst Cty Atty,     One Harrison St SE (MSC #06),
               Leesburg, VA 20175-3102
cr           +County of Loudoun, Virginia,     c/o K. Stapleton, Asst. Cty. Atty.,     P. O. Box 7000,
               Leesburg, VA 20177-7000
cr            Cousins Properties Incorporated,     c/o Katten Muchin Rosenman LLP,
               2029 Century Park East, Suite 2600,     Los Angeles, CA 90067-3012
crtrptr      +Crane-Snead & Associates, Inc.,     4914 Fitzhugh Ave, Ste 203,     Richmond, VA 23230-3534
cr           +Crown CCI, LLC,    c/o Paul S. Bliley, Jr.,     P.O. Box 1320,   Richmond, Va 23218-1320
mvnt         +Cynthia Olloway, Individually and as Special Admin,      c/o Lisa Taylor Hudson, Esquire,
               Sands Anderson Marks & Miller, P.C.,     Post Office Box 1998,     801 East Main Street, Suite 1800,
               Richmond, VA 23219-2906
cr            Cypress-Fairbanks ISD,    c/o John P. Dillman,     Post Office Box 3064,    Houston, TX 77253-3064
cr           +D-Link Systems, Inc.,    Gary & Regenhardt, PLLC,     8500 Leesburg Pike,    Suite 7000,
               Vienna, VA 22182-2498
cr           +DEV Limited Partnership,    c/o Sands Anderson Marks & Miller, P.C.,      P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +DIM Vastgoed, N.V.,    214 North Tryon Street,     Suite 4700,   c/o Amy Pritchard Williams,
               Charlotte, NC 28202-2367
cr           +DIRECTV, Inc.,    c/o Joseph R. Sgroi,    HONIGMAN MILLER SCHWARTZ AND COHN LLP,
               2290 First National Building,     Detroit, MI 48226-3583
cr           +Daniel G. Kamin Baton Rouge LLC,     c/o Kamin Realty Company,    490 South Highland Avenue,
               Pittsburgh, PA 15206-4274
intp         +David J. Cacciotti,    9812 Fernleigh Dr.,     Richmond, VA 23235-1834
cr           +David Marciniszyn,    633 Willow Street,    Waterbury, CT 06710-1213
cr           +Decarla Taylor-Conyers,    203 Peakside Way, Apt D,     Petersburg, VA 23805-1286
cr           +Dentici Family Limited Partnership,     Neil E. McCullagh, Esquire,     David K. Spiro, Esquire,
               Cantor Arkema, O.C.,    P.O. Box 561,    Richmond, VA 23218-0561
cr            Developers Realty, Inc.,    c/o Christopher L. Perkins,     LeClairRyan,
               951 East Byrd Street, Eighth Floor,     PO Box 2499,    Richmond, VA 23218-2499
cr            Dickson Management Associates, LLC,     Hirschler Fleischer PC,     c/o Michael P. Falzone,
               P.O. Box 500,    Richmond, VA 23218-0500
cr           +Donahue Schriber Realty Group, L.P.,     c/o Nancy Hotchkiss,    Trainor Fairbrook,
               980 Fulton Avenue,    Sacramento, CA 95825-4558
cns          +Easley, McCaleb & Associates, Inc.,     Attn: Darwin Embser, VP,      Suite 755,
               3980 DeKalb Technology Pkwy,     Atlanta, GA 30340-2768
cr           +East Brunswick VF LLC,    c/o Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     P.O. Box 1998,    Richmond, VA 23218-1998
cr           +East BrunswickVF, LLC,    c/o William A. Gray, Esquire,     Sands, Anderson, Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,     P.O. Box 1998,    Richmond, VA 23218-1998
cr           +Eastern Security Corp.,    c/o Michael E. Hastings, Esq.,
               LeClairRyan, A Professional Corporation,      1800 Wachovia Tower, Drawer 1200,
               Roanoke, VA 24006-1200
cr           +EklecCo NewCo, LLC,    c/o Menter, Rudin & Trivelpiece, P.C.,     Attn: Kevin M. Newman, Esq.,
               308 Maltbie Street, Suite 200,     Syracuse, NY 13204-1439,    U.S.A.
cr           +Encinitas PFA, LLC,    214 North Tryon Street,     Suite 4700,   Attention: Amy Pritchard Williams,
               Charlotte, NC 28202-2367
cr           +Envision Peripherals,Inc,    47490 Seabridge Drive,     Fremont, CA 94538-6548
cr           +Equitable Gas Company LLC,    Equitable Gas Bankruptcy Dept.,     Attn: Judy Gawlowski,
               200 Allegheny Center Mall,    Pittsburgh, PA 15212-5339
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cr           +Evening Post Publishing Company d/b/a The Post and,      c/o B. Shawan Gillians, Esquire,
               5 Exchange Street,    Charleston, SC 29401-2530
cr            Export Development Canada (EDC),     Att: Jo-Ann Keech-Barker,     KIA IK3 151 O’Connor St.,
               Ottawa Ontario,    CANADA
intp          F.R.O., L.L.C. IX,    703 Palm Island Drive,     Palm Beach, FL 33480
cr           +Faram Muskegon, LLC,    c/o Paul K. Campsen,     Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
cr            Fayetteville Developers, LLC,     c/o Christopher L. Perkins,     LeClairRyan,
               951 East Byrd Street, Eighth Floor,     PO Box 2499,    Richmond, VA 23218-2499
cr           +Fingerlakes Crossing, LLC,     c/o Menter, Rudin & Trivelpiece, P.C.,
               Attn: Kevin M. Newman, Esq.,      308 Maltbie Street, Suite 200,     Syracuse, NY 13204-1439,
               U.S.A.
cr           +Florence County,    Treasurer’s Off/Deliquent Tax,     180 North Irby St. MSCTT,
               Florence, SC 29501-3431
cr           +Forecast Danbury Limited Partnership,      c/o Forest Property Management,     19 Needham Street,
               Newton, MA 02461-1624
cr            Fort Bend County,    c/o John P. Dillman,     Post Office Box 3064,    Houston, TX 77253-3064
cr           +Four Star International Trade,     c/o Wendy M. Mead,    11 Pleasant Street,     Ste 30,
               Worcester, MA 01609-3232
cr            Foursquare Properties, Inc.,     c/o Katten Muchin Rosenman LLP,     2029 Century Park East,
               Suite 2600,    Los Angeles, CA 90067-3012
cr           +GE Fleet,    c/o Michael A. Condyles, Esquire,     Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr            Gallatin Management Associates, LLC,     Hirschler Fleischer PC,     c/o Michael P. Falzone,
               P.O. Box 500,    Richmond, VA 23218-0500
cr           +Gamergraffix,    Attn: Anne Marie Gleason,      400 Harris Ave.,    Providence, RI 02909-1018
cr           +Gateway, Inc.,    c/o Jeffrey L. Tarkenton,     Womble Carlyle Sandridge & Rice, PLLC,
               1401 Eye Street, N.W.,     Seventh Floor,    Washington, DC 20005-2225
cr           +Geenen DeKock Properties, L.L.C.,     c/o Kupelian Ormond & Magy, P.C.,
               25800 Northwestern Highway,     Suite 950,    Southfield, MI 48075-6116
cr           +Georgia Pension Associates Realty Corp,      60 Cuttermill Road,    Suite 303,
               Great Neck, NY 11021-3104
cr           +Glenmoor Limited Partnership,     c/o Kevin L. Sink,    P.O. Box 18237,     Raleigh, NC 27619-8237
cr           +Golfsmith International, L.P.,     c/o Sarah Link Schultz,     Akin Gump Strauss Hauer & Feld LLP,
               1700 Pacific Avenue,    Suite 4100,    Dallas, TX 75201-4675
cr           +Google Inc.,    Kaufman & Canoles,    150 W. Main Street,     Suite 2100,    Norfolk, VA 23510-1681
liq          +Gordon Brothers Retail Partners, LLC,      101 Huntington Avenue, 10th Floor,
               Boston, MA 02199-7607
cr           +Gould Investors, L.P.,     60 Cuttermill Road,    Suite 303,    Great Neck, NJ 11021-3104
cr           +Green Acres Mall, LLC,     c/o Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     P.O. Box 1998,    Richmond, VA 23218-1998
cr           +Greenback Associates,    c/o Nancy Hotchkiss,     Trainor Fairbrook,    980 Fulton Avenue,
               Sacramento, CA 95825-4558
cr           +Greenwood Point, LP,    c/o Jeffrey J. Graham,     Taft Stettinius & Hollister LLP,
               One Indiana Square, Suite 3500,     Indianapolis, IN 46204-2023
cr           +Gregory Lee McCall,    U.S.M. #15064-045,     F.C.I. Forest City-Low,     PO Box 9000,
               Forest City, AR 72336-9000
cr           +Hamilton Chase - Santa Maria LLC,     c/o Gregory D. Grant, Esq.,     11921 Rockville Pike, #300,
               Rockville, MD 20852-2737
intp         +Harold Patton,    5178 Old N. Rd.,    Christoperh, IL 62822-2307
cr            Harris County, et al,    c/o John P. Dillman,     Post Office Box 3064,     Houston, TX 77253-3064
cr           +Hayward 880,LLC,    c/o Paul S. Bliley, Jr.,     P.O. Box 1320,    Richmond, Va 23218-1320
cr            Henrico County, Virginia,     County Attorney,    P.O. Box 90775,    Henrio, VA 23273-0775
liq          +Hilco Merchant Resources, LLC,     5 Revere Dr., Suite 206,     Northbrook, IL 60062-1568
cr           +Hillsborough County, FL,     Attorney’s Office,    601 E. Kennedy Blvd.,     27th Floor,
               Tampa, FL 33602-4932
cr            Hillson Electric Incorporated,     c/o Gary V. Fulghum,     2800 Commerce Tower, 911 Main St.,
               Kansas City, MO 64105
intp         +Hilton Ellis Epps, Sr.,     c/o Sands Anderson Marks & Miller, P.C.,      P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +Hoprock Limonite, LLC,     c/o Dewey & LeBoeuf LLC,    Attn: Lisa Hill Fenning,
               333 South Grand Avenue, 26th Floor,     Los Angeles, CA 90071-1504
intp         +Howard Morehead,    10712 Calaveras Cove,     Belton, TX 76513-5314
cr            Howland Commons Partnership, an Ohio gen partnersh,      Richard T. Davis, Esq.,
               2445 Belmont Avenue,    P.O. Box 2186,     Youngstown, OH 44504-0186
cr            Huntington Mall Company,     c/o Sheila deLa Cruz, Esq.,     Hirschler Fleischer, PC,     P.O. Box 500,
               Richmond, VA 23218-0500
cr          ++INTERNAL REVENUE SERVICE,     CENTRALIZED INSOLVENCY OPERATIONS,     PO BOX 21126,
               PHILADELPHIA PA 19114-0326
             (address filed with court: Internal Revenue Service,        400 N 8th Street, Box 76,     Stop Room 898,
               Richmond, VA 23219)
cr           +InfoPrint Solutions Company,     c/o Vicky Namken,    13800 Diplomat Dr.,     Dallas, TX 75234-8812
cr           +International Business Machines Corporation,      c/o Satterlee Stephens Burke & Burke LLP,
               230 Park Avenue, 11th Floor,     New York, NY 10169-0005
crtrptr      +J&J Court Transcribers, Inc.,     268 Evergreen Avenue,     Hamilton, NJ 08619-1808
cr           +JP Thornton, LLC,    1601 Blake Street,     Unit 600,   Denver, CO 80202-1329
cr           +Jack Hernandez,    Righetti Law Firm,,     456 Montgomery Street,    #1400,
               San Francisco, CA 94104-1247
cr           +James C. Blair, Sr.,    1921 Whitelake Dr.,     Fredericksburg, VA 22407-1483
cr           +James Lubary,    3161 Druid Lane,    Rossmoor, CA 90720-5214
cr            John Rohrer Contracting Company, Inc.,      c/o Gary V. Fulghum,    2800 Commerce Tower, 911 Main St.,
               Kansas City, MO 64105
intp         +Jonathan Lee Riches,    FCI Williamsburg,      PO Box 340,    Salters, SC 29590-0340
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cr           +Jonthan Card,    Righetti Law Firm, P.C.,     456 Montgomery St,     1400,
               San Francisco, CA 94104-1247
cr           +Joseph Skaf,    Righetti Law Firm, P.C.,     456 Montgomery St.,     #1400,
               San Francisco, CA 94104-1247
cr           +Jurupa Bolingbrook LLC,    122 Aspen Lakes Drive,      Hailey, ID 83333-5115
cr           +Kamin Realty Company,    490 South Highland Avenue,      Pittsburgh, PA 15206-4274
intp         +Kelly Breitenbecher,    c/o Sands Anderson Marks & Miller, PC,       P.O. Box 1998,
               Richmond, VA 23218-1998
cr            Kentucky Oaks Mall Company,     c/o Sheila deLa Cruz, Esq.,      Hirschler Fleischer PC,
               P.O. Box 500,    Richmond, VA 23218-0500
cr           +Klipsch, LLC,    c/o Barnes & Thornburg LLP,     Attn: Michael K. McCrory,      11 S. Meridian Street,
               Indianapolis, IN 46204-3535
cr           +Landmark Communications, Inc. d/b/a The Virginian,       c/o Paul A. Driscoll,
               222 Central Park Avenue, Suite 400,      Virginia Beach, VA 23462-3026
cr           +Landover (Landover Crossing), LLC,     c/o Menter, Rudin & Trivelpiece, P.C.,
               Attn: Kevin M. Newman, Esq.,      308 Maltbie Street, Suite 200,      Syracuse, NY 13204-1439,
               U.S.A.
cr            Lang Construction, Inc.,    c/o: Gary V. Fulghum,      2800 Commerce Tower, 911 Main St.,
               Kansas City, MO 64105
cr           +LumiSource, Inc.,    c/o John M. Brom,     QUERREY & HARROW, LTD.,
               175 West Jackson Blvd. - Ste 1600,     Chicago, IL 60604-2686
cr           +MD-GSI Associates,    c/o Polsinelli Shalton Flanigan Suelthau,       1152 15th Street, NW,
               Suite 800,    Washington, DC 20005-1723
intp          Madeleine C. Wanslee,    GUST ROSENFELD,     201 E. WASHINGTON ST., STE 800,
               PHOENIX, AZ 85004-2327
cr           +Madison County, Alabama Tax Collector,      Attn: Lynda Hall, Tax Collector,
               Madison County Courthouse,     100 Northside Square,     Huntsville, AL 35801-4876
cr           +Madison Waldorf, LLC,    c/o Madison Marquette Realty Service,       c/o Mitchell B. Weitzman, Esq.,
               2001 Pennsylvania Ave., N.W., 10th Floor,      Washington, DC 20006-1851,      U.S.A.
cr           +Magna Trust Company, Trustee,     c/o Kimberly A. Pierro, Esquire,      Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +Mallview Plaza Company, Ltd.,     c/o John D. McIntyre,     Willcox & Savage, P.C.,
               One Commercial Place, Suite 1800,     Norfolk, Va 23510-2197
cr           +Mansfield SEQ 287 and Debbie, Ltd.,     c/o William A. Gray, Esquire,
               Sands Anderson Marks & Miller, P.C.,      801 E. Main Street, Suite 1800,      P.O. Box 1998,
               Richmond, VA 23218-1998
intp         +Manufacturers & Traders Trust Company, as Trustee,       c/o Hodgson Russ LLP,
               Garry M. Graber, Esq.,    The Guaranty Building,      140 Pearl Street, Suite 100,
               Buffalo, NY 14202-4004
tor          +Manufactures and Traders Trust Company, as Trustee,       % Hidgson Russ LLP,
               Attn: Deborah J. Piazza, Esq.,      60 East 42nd St., 37th Floor,      New York, NY 10165-3700
cr           +Mark Murdock,    25590 Noble Dr.,    Chesterfield, MI 48051-3262
cr            Marlton VF LLC,    c/o William A. Gray, Esq.,     Post Office Box 1998,     Richmond, VA 23218-1998
cr           +Mary H. Stienemann,    Apt. B,    1037 Maiden Choice Ln.,     Baltimore, MD 21229-5339
intp         +Mary J. Radack,    14561 Legends Blvd., N 302,     Fort Myers, FL 33912-0364
cr           +Maryland Acquisitions, LLC,     Miles & Stockbridge P.C.,     1751 Pinnacle Drive,     Suite 500,
               McLean, VA 22102-3833
cr           +McAlister Square Partners, Ltd.,     c/o William A. Gray, Esquire,
               Sands Anderson Marks & Miller, P.C.,      801 E. Main Street, Suite 1800,      P.O. Box 1998,
               Richmond, VA 23218-1998
intp         +McCandlish Holton, PC,    P.O. Box 796,     Richmond, VA 23218-0796
cr           +McKinley, Inc.,    320 N. Main Street,     Suite 200,    Ann Arbor, MI 48104-1100
cr           +Melanie J. Finch,    22056 Gilmore Street,     Woodland Hills, CA 91303-2504
cr            Michael T. Chalifoux,    c/o Troutman Sanders LLP,      Richard E. Hagerty,
               I660 International Drive,     Suite 600,    McLean, VA 22102
cr           +Millman 2000 Charitable Trust,     2400 Cherry Creek Dr. South,      Suite 702,
               Denver, CO 80209-3261
cr           +Miner Corporation,    111 W. San Antonio Street,      Suite 200,    New Braunfels, TX 78130-5156
cr           +Missouri Attorney General’s Office,     Jeff Klusmeier,     P.O. Box 899,
               Jefferson City, Mo 65102-0899
cr            Missouri Department of Revenue,     General Counsel’s Office,      301 W. High Street, Room 670,
               PO Box 475,    Jefferson City, MO 65105-0475
cr           +Mitsubishi Digital Electronics America, Inc.,      c/o James A. Pardo, Jr.,      King & Spalding LLP,
               1180 Peachtree Street,    Atlanta, GA 30309-3531
cr           +Mitsubishi Electric & Electronics USA, Inc.,      c/o James A. Pardos, Jr.,      King & Spalding,
               1180 Peachtree Street,    Atlanta, GA 30309-3531
cr            Montgomery County,    c/o Joh P. Dillman,     Post Office Box 3064,     Houston, TX 77253-3064
cr            Monument Consulting, LLC,    Sands, Anderson, Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +Mount Berry Square, LLC,    c/o Kevin M. Newman, Esq.,      308 Maltbie Street,     Suite 200,
               Syracuse, NY 13204-1444
cr            Nintendo of America, Inc.,     Attn: Elizabeth Aurelio, VP,       -Credit, 4820-150th Ave. NE,
               Redmond, WA 98052-5115
cr           +North Attleboro Marketplace II, LLC,      1414 Atwood Avenue,     Johnston, RI 02919-4839
cr            North Bergen Tonnelle Plaza, LLC,     c/o Lisa Taylor Hudson,      Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     Post Office Box 1998,     Richmond, VA 23218-1998
cr           +North Plainfield VF LLC,    c/o Lisa Taylor Hudson,      Sands Anderson Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +NorthMarq,    Emily J. Voss, Property Man.,     Suite 200,    3500 American Blvd. W.,
               Minneapolis, MN 55431-1096
cr           +OLP 6609 Grand, LLC,    60 Cuttermill Road,     Suite 303,    Great Neck, NY 11021-3104
cr           +OLP CCAntioch, LLC,    60 Cuttermill Road,     Suite 303,    Great Neck, NY 11021-3104
cr           +OLP CCFairview Heights, LLC,     60 Cuttermill Road,     Suite 303,    Great Neck, NY 11021-3104
cr           +OLP CCFerguson, LLC,    60 Cuttermill Road,     Suite 303,    Great Neck, NY 11021-3104
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cr           +OLP CCFlorence, LLC,    60 Cuttermill Road,    Suite 303,    Great Neck, NY 11021-3104
cr           +OLP CCSt.Louis, LLC,    60 Cuttermill Road,    Suite 303,    Great Neck, NY 11021-3104
tee          +ON Corp. USA, Inc. and ON Corp.,    Oldshan Grundman Frome,     65 East 55th Street,
               New York, VA 10022-3402
cr           +Office of Unemployment Compensation Tax Svcs.,     Dept. of Labor & Industry, Commonwealth,
               of PA, Reading Bankruptcy & Compl. Unit,     Attn: Timothy Bortz, UC Tax Agent,
               625 Cherry St. - Room 203,    Reading, PA 19602-1152
cr           +Oklahoma County Treasurer,    c/o Tammy Jones,    320 Robert S. Kerr,    Room 307,
               Oklahoma City, OK 73102-3441
cr           +Oracle USA, Inc.,    Buchalter Nemer,    Shawn M. Christianson,    333 Market St., 25th Fl.,
               San Francisco, CA 94105-2126
cr            Orange County California Treasurer-Tax Collector,     Laurie A. Shade, Esq.,
               Office of the County Counsel,    10 Civic Center Plaza, 4th Floor,     P.O. Box 1379,
               Santa Ana, CA 92702-1379
cr           +Orange Grove Apartments LLC dba Camelback Center P,     c/o Valerie L. Marciano, Esq.,
               Jaburg & Wilk, PC,    3200 North Central Ave., #2000,     Phoenix, AZ 85012-2463
cr           +Osceola County Florida Tax Collector,     c/o Paul S. Bliley, Jr.,    P.O. Box 1320,
               Richmond, VA 23218-1320
cr           +Pan Am Equities,    c/o David A. Greer PLC,    500 East Main St Ste 1225,     Norfolk, VA 23510-2274
cr           +Panattoni Development Company, Inc. as Agent for C,     David K. Spiro, Esquire,
               Neil E. McCullagh, Esquire,    Cantor Arkema, P.C.,    P.O. Box 561,    Richmond, VA 23218-0561
cr           +Panattoni Development Company, Inc. as Agent for E,     David K. Spiro, Esquire,
               Neil E. McCullagh, Esquire,    Cantor Arkema, P.C.,    P.O. Box 561,    Richmond, VA 23218-0561
cr           +Panattoni Development Company, Inc. as Agent for V,     David K. Spiro, Esquire,
               Neil E. McCullagh, Esquire,    Cantor Arkema, P.C.,    P.O. Box 561,    Richmond, VA 23218-0561
cr           +Pasadena Independent School District,     c/o Dexter D. Joyner,    Law Office of Dexter D. Joyner,
               4701 Preston Avenue,    Pasadena, TX 77505-2050
cr           +Patricia Shapiro,    3662 Mountcles Blvd.,    Thousand Oaks, CA 91360-2642
intp         +Paul Schaapman,    c/o Sands Anderson Marks & Miller, PC,     P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +Pelkar Muskegon, LLC,    c/o Paul K. Campsen,    Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
cr           +Pension Benefit Guaranty Corporation,     Office of the Chief Counsel,    1200 K Street, N.W.,
               Suite 340,    Washington, DC 20005-4030
cr            Philip S. Allen,    40454 Regatta Drive,    Discovery Bay, CA 94505
cr           +Photoco, Inc.,    30305 Solon Road,    Solon, OH 44139-3413
intp         +Phyllis M Pearson,    c/o Sands Anderson Marks & Miller, P.C.,     P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +Pima County,    Pima County, Arizona,    c/o Pima County Attorney’s Office,
               32 N. Stone Ave., Ste. 2100,    Tucson, AZ 85701-1416
cr           +Plaza Las Palmas, LLC,    Culbert & Schmitt, PLLC,    30C Catoctin Circle, SE,
               Leesburg, VA 20175-3614
cr           +Polaris Circuit City, LLC,    8800 Lyra Drive, Suite 550,     Attn: Franz A. Geiger,
               Columbus, OH 43240-2107
cr           +Port Arthur Holdings, III, Ltd.,    c/o David H. Cox, Esquire,     Jackson & Campbell, PC,
               1120 20th Street, NW, Suite 300-S,     Washington, DC 20036-3437
cr           +Portland Investment Company of America,     c/o Katten Muchin Rosenman LLP,
               2029 Century Park East,    Suite 2600,    Los Angeles, CA 90067-3012
cr           +PrattCenter, LLC,    c/o Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,    P.O. Box 1998,    Richmond, VA 23218-1998
cr           +Prosite Business Solutions, LLC,    c/o Spotts Fain PC,     411 E. Franklin Street,    Suite 600,
               Richmond, VA 23219-2200
cr           +Prudential Insurance Company of America,     c/o Katten Muchin Rosenman LLP,
               2029 Century Park East,    Suite 2600,    Los Angeles, CA 90067-3012
cr           +RJ Ventures LLC, K&G Dearborn LLC,     c/o Jess R Bressi Esq,    Cox Castle & Nicholson LLP,
               19800 MacArthur Blvd Ste 500,    Irvine, CA 92612-2480
cr           +RLV Village Plaza, LP,    c/o Paul K. Campsen,    Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
cr           +RREEF Management Company,    c/o Katten Muchin Rosenman LLP,     2029 Century Park East,
               Suite 2600,    Los Angeles, CA 90067-3012
cr            RTS Marketing, Inc.,    c/o Michael P. Falzone, Esq.,     Hirschler Fleischer PC,    P.O. Box 500,
               Richmond, VA 23218-0500
cr           +Ramco JW, LLC,    c/o Paul K. Campsen,    Kaufman & Canoles, P.C.,    P. O. Box 3037,
               Norfolk, VA 23514-3037
cr           +Ramco West Oaks 1, LLC,    c/o Paul K. Campsen,    Kaufman & Canoles P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
cr           +Raymond & Main Retail, LLC,    David K. Spiro, Esquire,     Neil E. McCullagh, Esq.,
               Cantor Arkema, P.C.,    P.O. Box 561,    Richmond, VA 23218-0561
cr           +Rebecca Hylton DeCamps,    c/o Lisa Taylor Hudson,    Sands Anderson Marks & Miller, P.C.,
               PO Box 1998,    801 E. Main Street, Ste 1800,    Richmond, VA 23219-2906
cr           +Rebs Muskegon, LLC,    c/o Paul K. Campsen,    Kaufman & Canoles, P.C.,    P. O. Box 3037,
               Norfolk, VA 23514-3037
cr            Remount Road Associates Limited Partnership,     c/o Michael P. Falzone,     Hirschler Fleischer PC,
               P.O. Box 500,    Richmond, VA 23218-0500
cr           +Reverend Dwayne Funches,    c/o Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               P.O. Box 1998,    801 E. Main Street, Suite 1800,    Richmond, VA 23219-2906
cr           +Ricmac Equities Corporation,    430-440 Plainview Road,     Hicksville, NY 11801-4372
cr            Rio Associates Limited Partnership,     c/o David D. Hopper, Esquire,    4551 Cox Road, Suite 210,
               P. O. Box 3059,    Glen Allen, VA 23058-3059
cr            Ritz Motel Company,    6735 Telegraph Road,    Suite 110,    Bloomfield Hills, MI 48301-3143
cr           +Riverside County California,    California Taxing Authority,     c/o Martha E. Romero,
               Romero Law Firm,    6516 Bright Avenue,    Whittier, CA 90601-4503
cr           +Riverside, California,    c/o Martha E. Romero,    6516 Bright Ave,    Whittier, CA 90601-4503
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cr           +Robert E. Greenberg Gateway Woodside, Inc.,      Friedlander Misler, PLLC,     1101 17th Street, NW,
               Suite 700,    Washington, DC 20036-4711
cr           +Robert Gentry,    Righetti Law Firm, P.C.,     456 Montgomery St.,    1400,
               San Francisco, CA 94104-1247
cr           +SAP Retail Inc. and Business Objects,     c/o Brown & Connery LLP,     Attn: Donald K. Ludman,
               6 North Broad Street,    Suite 100,    Woodbury, NJ 08096-4635
cr            SEA Properties I, LLC,    c/o Clement & Wheatley,     ATTN.: Darren W. Bentley, Esq.,
               P. O. Box 8200,    Danville, VA 24543-8200
cr           +Sacco of Maine, LLC,    Young, Goldman & Van Beek, P.C.,      c/o John P. Van Beek, Esq.,
               510 King Street, Suite 416,     Alexandria, VA 22314-3142
cr           +Safeway Inc.,    Gary & Regenhardt, PLLC,    8500 Leesburg Pike,     Suite 7000,
               Vienna, VA 22182-2498
intp         +Salem Rockingham LLC,    c/o The MEG Companies,     25 Orchard View Drive,
               Londonderry, NH 03053-3324,     UNITED STATES
cr           +Samsung Electronics America, Inc.,     c/o Akerman Senterfitt,     8100 Boone Blvd., Suite 700,
               Vienna, VA 22182-2683
cr           +Sangertown Square, L.L.C.,     c/o Menter, Rudin & Trivelpiece, P.C.,
               Attn: Kevin M. Newman, Esq.,      308 Maltbie Street, Suite 200,     Syracuse, NY 13204-1439,
               U.S.A.
cr           +Satchidananda Mims,    PO Box 19304,    Oakland, CA 94619-0304
cr           +Saul Holdings Limited Partnership,     c/o Stephen A. Metz, Esquire,
               Shulman Rogers Gandal Pordy & Ecker, PA,      11921 Rockville Pike, 3rd Floor,
               Rockville, MD 20852-2737
cr           +Save Mart Supermarkets,    c/o Paul S. Bliley, Jr.,     P.O. Box 1320,    Richmond, Va 23218-1320
cr           +Schottenstein Property Group, Inc.,     c/o Loc Pfeiffer, Esquire,     Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +Sharp Electronics Corporation,     c/o Borges & Associates, LLC,     575 Underhill Blvd,
               Syosset, NY 11791-3426
cr           +Shopping.com, Inc.,    c/o Michael A. Condyles, Esq.,     Kutak Rock LLP,    1111 East Main Street,
               Suite 800,    Richmon, VA 23219-3521
cr           +Simon Property Group, Inc.,     Attn: Ronald M. Tucker, Esq.,     225 W. Washington Street,
               Indianapolis, IN 46204-3438
cr           +Sir Barton Place, LLC,    2517 Sir Barton Way,     Suite 210,    Lexington, KY 40509-2275
cr           +Sony Electronics, Inc.,    c/o Peter J. Barrett, Esquire,      Kutak Rock LLP,
               1111 East Main Street, Suite 800,     Richmond, VA 23219-3521
cr           +SouthPeak Interactive, LLC,     2900 Polo Parkway, Suite 200,     Midlothian, VA 23113-1423
cr            Southland Acquisitions, LLC,     c/o Thomas G. King / DS Holmgren,     Kreis, Enderle, et al,
               PO Box 4010,    Kalamazoo, MI 49003-4010
cr            Spring Hill Development Partners, GP,     Hirschler Fleischer, PC,     c/o Michael P. Falzone, Esq.,
               P.O. Box 500,    Richmond, VA 23218-0500
cr            St. Cloud Associates,    c/o Adam M. Spence,     Spence & Buckler, PC,    (Brandywine/CircuitCity),
               Baltimore, MD 21284
cr            Star Universal, LLC,    Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,     Post Office Box 1998,     Richmond, VA 23218-1998
cr            State Board of Equalization,     State of California,    450 N Street, MIC:55,     PO Box 942879,
               Sacramento, CA 94279-0055
cr           +State of Connecticut, Departments of Labor and Rev,      Office of the Attorney General,
               55 Elm Street,    Hartford, CT 06106-1746
cr           +State of Michigan, Department of Treasury,      Cadillac Place,    3030 W. Grand Blvd., Ste. 10-200,
               Detroit, MI 48202-6030,    US
cr            State of New Jersey, Division of Taxation,      Attorney General of New Jersey,
               R.J. Hughes Justice Complex,     25 Market St., POB 106,     Trenton, NJ 08625-0106
cr            State of Wisconsin - Office of the State Treasurer,      P. O. Box 7857,    Madison, WI 53707-7857
cr           +Stillwater Designs and Audio, Inc.,     attn: Kim Wright,     3100 North Husband,
               Stillwater, OK 74075-2516
cr           +Symantec Corp,    c/o Rafael X. Zahralddin-Aravena,     Elliott Greenleaf,
               1000 West Street, Suite 1440,     Wilmington, DE 19801-1051
cr            T. J. Maxx of CA, LLC,    c/o Lisa Taylor Hudson, Esquire,      Sands Anderson Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,     Post Office Box 1998,     Richmond, VA 23218-1998
cr           +TARGUS, INC.,    Lawrence J. Hilton, Esq.,     HEWITT & O’NEIL LLP,    19900 MacArthur Blvd,
               Suite 1050,    Irvine, CA 92612-8414
intp         +THQ, Inc.,    c/o David M. Poitras, P.C.,    Jeffer, Mangels, Butler & Marmaro LLP,
               1900 Ave. of the Stars, 7th Fl.,     Los Angeles, CA 90067-4308
cr           +TMT Development Company, Inc.,     Attn: Jill Hollowell,      805 SW Broadway, Ste. 2020,
               Portland, OR 97205-3360
cr           +TSA Stores, Inc.,    c/o John P. Van Beek, Esq.,     510 King Street,    Suite 416,
               Alexandria, VA 22314-3132
cr           +Tasler Pallett, Inc.,    Attn: Lewis Olson, Cred Mngr,      H.C. 73    Box 11,
               Marietta, OK 73448-9502
cr           +Taubman Landlords,    c/o The Taubman Company,     Attn. Andrew S. Conway,     200 East Long Lake Road,
               Suite 300,    Bloomfield Hills, MI 48304-2324
cr            Tax Collector, Polk County, Florida,     Joe G. Tedder, CFC,     Delinquency and Enforcement,
               PO Box 2016,    Bartow, FL 33831-2016
cr           +Tennessee Dept. Of Revenue,     c/o TN Attorney General’s Office,     Bankruptcy Division,
               POB 20207,    Nashville, TN 37202-4015
cr            The Cafaro Northwest Partnership, dba South Hill M,      c/o Sheila deLa Cruz, Esq.,
               Hirschler Fleischer PC,    P.O. Box 500,    Richmond, VA 23218-0500
cr            The Irvine Company,    Bewley, Lassleben & Miller, LLP,     13215 E. Penn Street,     Suite 510,
               Whittier, CA 90602-1797
cr           +The Macerich Company,    c/o Katten Muchin Rosenman LLP,      2029 Century Park East,    Suite 2600,
               Los Angeles, CA 90067-3012
cr           +The Marketplace of Rochester Hills Parcel B, LLC,      c/o John D. McIntyre,
               Willcox & Savage, P.C.,    One Commercial Place, Suite 1800,      Norfolk, Va 23510-2197
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cr           +The Marvin L. Oates Trust,     c/o Nancy Hotchkiss,     Trainor Fairbrook,    980 Fulton Avenue,
               Sacramento, CA 95825-4558
cr           +The McClatchy Company,    c/o Paul J. Pascuzzi,     Felderstein Fitzgerald,
               Willoughby & Pascuzzi LLP,     400 Capitol Mall, Suite 1450,     Sacramento, CA 95814-4434
cr           +The Stop & Shop Supermarket Company LLC,      c/o Sands Anderson Marks & Miller, P.C.,
               P/O. Box 1998,    Richmond, VA 23218-1998
cr           +TomTom, Inc.,    c/o Nixon Peabody LLP,     Attn: Dennis J. Drebsky,    437 Madison Ave.,
               New York, NY 10022-7039
cr           +Torrington Tripletts, LLC,     c/o Paul S. Bliley, Jr.,     P.O. Box 1320,    Richmond, Va 23218-1320
cr           +Toshiba America Consumer Products, L.L.C.,      Leitess Leitess Friedberg + Fedder PC,
               One Corporate Center,    10451 Mill Run Circle, Suite 1000,      Owings Mills, MD 21117-5519
cr           +Toshiba America Information Systems, Inc.,      Leitess Leitess Friedberg + Fedder PC,
               One Corporate Center,    10451 Mill Run Circle, Suite 1000,      Owings Mills, MD 21117-5519
cr           +Towson VF LLC,    c/o Lisa Taylor Hudson, Esquire,      Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +Toys R Us - Delaware, Inc.,     c/o Wolff & Samson PC,     Attn: Karen L. Gilman, Esq.,
               One Boland Drive,    West Orange, NJ 07052-3687
cr           +Travelers,    One Tower Square, 5MN,     Hartford, CT 06183-0002
cr           +Tritronics, Inc.,    c/o Ronald S. Gellert,     Eckert Seamans Cherin & Mellott, LLC,
               300 Delaware Avenue, Suite 1210,     Wilmington, DE 19801-1670
cr           +Tysons 3, LLC,    c/o Mitchell B. Weitzman, Esq.,      Bean Kinney & Korman, PC,
               2300 Wilson Blvd., 7th Floor,     Arlington, VA 22201-5424,     UNITED STATES
cr           +UPS Ground Freight, Inc.,     c/o Christopher Combest,     Quarles & Brady LLP,
               500 W. Madison Street,     Suite 3700,    Chicago, IL 60661-2589
cr           +UTC I, LLC,    c/o Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               P.O. Box 1998,    801 E. Main Street, Suite 1800,      Richmond, VA 23219-2906
cr           +United Parcel Service, Inc.,     c/o Christopher Combest,     Quarles & Brady LLP,
               500 W. Madison Street,     Suite 3700,    Chicago, IL 60661-2589
cr           +VNO Mundy Street, LLC,    c/o Lisa Taylor Hudson, Esquire,      Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +VNO TRU Dale Mabry, LLC,     c/o Lisa Taylor Hudson, Esquire,     Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +Valley Corners Shopping Center, LLC,      c/o Lisa Taylor Hudson, Esquire,
               Sands Anderson Marks & Miller, P.C.,      801 E. Main Street, Suite 1800,     P.O. Box 1998,
               Richmond, VA 23218-1998
cr           +Vance Baldwin, Inc.,    c/o Robert S. Gellert,     Eckert Seamans Cherin & Mellott, LLC,
               300 Delaware Avenue, Suite 1210,     Wilmington, DE 19801-1670
cr            Vermont Gas,    PO Box 467,    Burlington, VT 05402-0467
cr            Vertis, Inc.,    c/o Sheila deLa Cruz, Esq.,     Hirschler Fleischer PC,     P.O. Box 500,
               Richmond, VA 23218-0500
intp         +Vincent E. Rhynes,    1514 W. Manchester Ave. # 5,      LA, CA 90047-5427
cr            Vonage Holdings, Inc.,    attn: Angelique Electra,      23 Main Street, D2-180,
               Holmdel, NJ 07733-2136
cr            Vornado Caguas LP,    c/o Lisa Taylor Hudson, Esquire,      Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     Post Office Box 1998,     Richmond, VA 23218-1998
cr            Vornado Finance, LLC,    c/o Lisa Taylor Hudson, Esquire,      Sands Anderson Marks & Miller, P.C.,
               801 East Main Street, Suite 1800,      Post Office Box 1998,    Richmond, VA 23218-1998
cr           +Vornado Gun Hill Road, LLC,     c/o Lisa Taylor Hudson, Esquire,
               Sands Anderson Marks & Miller, P.C.,      801 E. Main Street, Suite 1800,     P.O. Box 1998,
               Richmond, VA 23218-1998
mvnt         +Vornado Realty Trust,    210 Route 4 East,     Paramus, NJ 07652-5108
cr           +Washington Corner, LP,    c/o Jeffrey J. Graham,     Taft Stettinius & Hollister LLP,
               One Indiana Square, Suite 3500,     Indianapolis, IN 46204-2023
cr           +Watercress Associates, LP, LLP dba Pearlridge Cent,       c/o Douglas D. Kappler, Esq.,
               Robinson, Diamant & Wolkowitz, APC,      1888 Century Park East,    Suite 1500,
               Los Angeles, CA 90067-1719
cr           +Watt Management Company,     c/o Katten Muchin Rosenman LLP,     2029 Century Park East,    Suite 2600,
               Los Angeles, CA 90067-3012
cr           +Wayne VF LLC,    c/o Lisa Taylor Hudson, Esquire,      Sands Anderson Marks & Miller, P.C.,
               801 E. Main Street, Suite 1800,     P.O. Box 1998,     Richmond, VA 23218-1998
cr           +Westgate Village, LP,    c/o Heather D. Dawson,     Kitchens Kelley Gaynes, P.C.,
               Eleven Piedmont Center, Suite 900,      3495 Piedmont Rd. N.E.,    Atlanta, GA 30305-1773
cr           +Westlake Limited Partnership,     406 SW Washington Street,     Peoria, IL 61602-1515
cr            Williamson County et al,     co Michael Reed,    Round Rock, TX 78680
cr           +Yvette Mack,    c/o Spotts Fain PC,     P.O. Box 1555,    Richmond, VA 23218-1555
cr            c/o Ron C. Bingham Stites & Harbison, PLLC T.D. Fa,       303 Peachtree Street, NE,
               2800 SunTrust Plaza,    Atlanta, GA 30308
cr           +c/o William A. Wood Panattoni Construction, Inc.,       Bracewell & Giuliani, LLP,
               711 Louisiana St., Suite 2300,     Houston, TX 77002-2849
cr           +c/o William S. Coats Pinnacle Systems, Inc.,      White & Case LLP,    3000 El Camino Real,
               5 Palo Alto Square, 9th Flr,     Palo Alto, CA 94306-2116
8676078      +3725 Airport Boulevard, LP,     20 Westwoods Drive,     Liberty, MO 64068-3519
8693216      +44 North Properties, LLC,     c/o Miles & Stockbridge, P.C.,     1751 Pinnacle Drive,    Suite 500,
               Mclean, VA 22102-3833
8585686      +507 Northgate, LLC,    c/o Christopher M. Alston,      1111 - 3rd Ave., #3400,
               Seattle, WA 98101-3264
8634777      +553 Retail, Inc.,    c/o Peter C. Hughes, Esquire,      Dilworth Paxson LLP,    1500 Market Street,
               Suite 3500E,    Philadelphia, PA 19102-2101
8773697      +610 & San Felipe, Inc.,     c/o David H. Cox, Esquire,     Jackson & Campbell, PC,
               1120 20th Street, NW, Suite 300-S,      Washington, DC 20036-3437
8593307      +ACCO Brands Corporation,     Wildman, Harrold, Allen & Dixion,     225 West Wacker Dr.,
               Chicago, IL 60606-1349
8596226      +AOL LLC,    c/o Tiffany Strelow Cobb,     VOrys, Sater, Seymour and Pease LLP,     52 East Gay Street,
               Columbus, OH 43215-3161
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8600375      +AOL LLC,    c/o Tiffany Strelow Cobb,    Vorys, Sater, Seymour and Pease LLP,     52 East Gay Street,
               Columbus, Ohio 43215-3161
8602569      +AT&T,    Attn: Julie Quagliano, Esq.,    QUAGLIANO & SEEGER, P.C.,    2620 P Street, NW,
               Washington DC 20007-3062
8593447      +AT&T,    c/o Julie Quagliano, Esq.,    QUAGLIANO & SEEGER, P.C.,    2620 P Street, NW,
               Washington DC 20007-3062
8665859       ATMOS ENERGY CORPORATION,    PO BOX 650205,    DALLAS TX 75265-0205
8602439      +AVR CPC Associates, LLC,    C/O Jaspan Schlesinger LLP,     300 Garden City Plaza,
               Garden City, New York 11530-3302,     (516) 746-8000
8589789      +Accent Energy California LLC,    6065 Memorial Drive,    Dublin, Ohio 43017-8218
8603024      +Alexander H Bobinski, as Trustee,     under Trust No. 1001,    c/o David R McFarlin,
               1851 West Colonial Drive,    Orlando, FL 32804-7013
8710991      +All American Installs,    Michael Caputo,    422 Madison Ave,    Penndel, PA 19047-7546
8578230      +Alliance Entertainment,    Attn: Douglas J. Bates,     27500 Riverview Center Blvd.,
               Bonita Springs, FL 34134-4325
8570942      +AmREIT, a Texas real estate investment trust,     c/o James V. Lombardi, III,
               Ross,Banks,May,Cron & Cavin, P.C.,     2 Riverway, Suite 700,    Houston, Texas 77056-1918
8691729      +Ammon Properties LC,    c/o Joel T. Marker,    McKay, Burton & Thurman,
               170 South Main St., Suite 800,     Salt Lake City, UT 84101-1656
8580932       Amore Construction Company,    c/o John J. Lamoureux,    Carlton Fields, P.A.,     P. O. Box 3239,
               Tampa, FL 33601-3239
8585810      +Andrews Electronics,    c/o Justin D. Leonard,    Ball Janik LLP,    101 SW Main, Ste. 1100,
               Portland, OR 97204-3219
8615037      +Arapahoe County Treasurer,    c/o Arapahoe County Attorney Office,     Attn: George Rosenberg,
               5334 S. Prince Street,    Littleton, CO 80166-0001
8831410      +Atlantic Inc.,    10018 Santa Fe Springs,    Santa Fe Springs, CA 90670-2922
8831415      +Atlantic Inc.,    c/o Charles Cross,    10018 Santa Fe Springs,    Santa Fe Springs CA 90670-2922
8825928      +Audiovox Corporation,    150 Marcus Blvd.,    Hauppauge, NY 11788-3794
8590219      +Audiovox Corporation,    c/o Duane Morris LLP,    Rudolph J. Di Massa, Jr., Esquire,
               Matthew E. Hoffman, Esquire,    30 South 17th Street,     Philadelphia, Pennsylvania 19103-4001
8590220       Audiovox Corporation,    c/o Levy, Stopol & Camelo, LLP,     Larry Stopol, Esquire,
               1425 RexCorp Plaza,    Uniondale, NY 11556-1425
8588191      +Averatec/Trigem USA,    c/o Samuel S. Oh,    1055 West 7th Street - Suite 2800,
               Los Angeles, CA 90017-2554
8710627      +BAW Plastics Inc.,    Administrative Priority Claim #662,     2148 Century Drive,
               Century III Business Ctr,    Jefferson Hills PA 15025-3654
8615829      +BB Fonds International 1 USA, L.P.,     c/o Jason Binford,    Haynes and Boone, LLP,
               2323 Victory Avenue, Suite 700,     Dallas, TX 75219-7673
8577768      +Bank of America,    c/o Bruce Matson,    951 East Byrd St.,    Richmond, VA 23219-4040
8645826       Barbara O. Cararway, City Treasurer,     City of Chesapeake,    P.O. Box 16495,
               Chesapeake, VA 23328-6495
8683969       Basile Limited Liability Company,     c/o Michael P. Falzone,    Hirschler Fleischer PC,
               P.O. Box 500,    Richmond, VA 23218-0500
8570395      +Basser-Kaufman aka Basser,    c/o Robert L. LeHane,    Kelley Dryer & Warren,     101 Park AVe.,
               New York, NY 10178-0062
8570394      +Basser-Kaufman aka Basser,    c/o James S. Carr,    Kelley Dryer & Warren,    101 Park Avenue,
               New York, NY 10178-0062
8900768      +Becker Trust, LLC,    50 South Jones Boulevard,    Suite 100,    Las Vegas, NV 89107-2672
8588379      +Bedford Properties, L.L.C.,    c/o Catherine Guastello,     Quarles & Brady LLP,
               Two North Central Avenue,    Phoenix, AZ 85004-2322
8608535      +Bell’O International Corp.,    Henry P. Baer, Jr., Esq.,     Finn Dixon & Herling LLP,
               177 Broad Street, 15th Floor,    Stamford, CT 06901-5002
8601460      +Bond Circuit VIII Delaware Business Trust,     c/o Lazer, Aptheker, Rosella & Yedid,
               Attn: Robin S. Abramowitz,    225 Old Country Road,    Melville, NY 11747-2719
8698490       Bond-Circuit IV Delaware Business Trust,     c/o Mark B. Conlan, Esq.,    Gibbons P.C.,
               One Gateway Center,    Newark, NJ 07102-5310
8750450      +Boulder County Treasurer,    P.O. Box 471,    Boulder, Colorado 80306-0471
8764332      +Brian Brown,    c/o Charles D. Whelan III, Esq.,    114 Bayard Street,
               New Brunswick, NJ 08901-1956
8588462      +Bush Industries, Inc.,    c/o Olshan Grundman Frome Rosenzweig & W,     65 East 55th Street,
               New York, New York 10022-3219
8601456      +CC Colonial Trust,    c/o Lazer, Aptheker, Rosella & Yedid, P.,     Attn: Robin S. Abramowitz,
               225 Old Country Road,    Melville, NY 11747-2719
8698499       CC Hamburg NY Partners, LLC,    c/o Mark B. Conlan, Esq.,     Gibbons P.C.,   One Gateway Center,
               Newark, NJ 07102-5310
8601457      +CC Joliet Trust,    c/o Lazer, Aptheker, Rosella & Yedid,     Attn: Robin S. Abramowitz,
               225 Old Country Road,    Melville, NY 11747-2719
8601459      +CC Merrilville Trust,    c/o Lazer, Aptheker, Rosella & Yedid,     Attn: Robin S. Abramowitz,
               225 Old Country Road,    Melville, NY 11747-2719
8677685      +CIT Technology Financing Services, Inc.,     10201 Centurion Parkway N. #100,
               Jacksonville, OH 32256-4114
8799625     ++CITY OF CHESAPEAKE,    PO BOX 16495,    CHESAPEAKE VA 23328-6495
             (address filed with court: Barbara O. Carraway, City Treasurer,       City of Chesapeake,
               P.O. Box 16495,    Chesapeake, VA 23328-6495)
8623810      +COLE CC GROVELAND FL, LLC,    c/o Jeffrey T. Wegner, Esquire,     KUTAK ROCK LLP,
               The Omaha Building,    1650 Farnam Street,    Omaha, NE 68102-2104
8641633       CPS Energy - Bankruptcy Section,     145 Navarro - Mail Drop 101013,    San Antonio, TX    78205
8601395      +Cameron Group Associates, LLP,    c/o Andrew M. Brumby, Esq.,     Shutts & Bowen LLP,
               300 S. Orange Avenue, Suite 1000,     Orlando, FL 32801-5403
8670517      +Carlyle-Cypress Tuscaloosa, LLC,     c/o Lyndel Anne Mason,
               CAVAZOS HENDRICKS POIROT & SMITHAM P.C.,     900 Jackson St. - Ste 570, Founders Sq.,
               Dallas, TX 75202-2413
8577737      +Centro Properties Group,    c/o Ballard Spahr Andrews & Ingersoli,     51st Floor-Mellon Bank Center,
               1735 Market Street,    Philadelphia, PA 19103-7501
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8699201      +Century PLaza Development Corporation,     c/o Law Offices of David A. Greer PLC,
               500 East Main Street, Suite 1225,     Norfolk, Virginia 23510-2274
8667801      +Charlotte Co Tax Collector,    Vickie L Potts, Tax Collector,     18500 Murdock Circle,
               Port Charlotte FL 33948-1068
8584110      +Chatham County Tax Commissioner,     c/o Daniel T. Powers,    PO Box 8321,    Savannah, GA 31412-8321
8832124       Circsan Limited Partnership,    c/o Kin Properties, Inc.,      185 NW Spanish River Blvd, Ste 100,
               Boca Raton, FL 33431-4230,     ATTN: Allen P. Lev, Esq.
8575617       City Hurst, Mansfiled ISD, Carroll ISD,     c/o Elizabeth Banda,    PO Box 13430,
               Arlington, TX 76094-0430
8575615       City of Cedar Hill, Burleson ISD, Arlington ISD,      c/o Elizabeth Banda,    PO Box 13430,
               Arlington, TX 76094-0430
8782773       City of Florence,    PO Box 1357,    Florence KY 41022-1357
8693721      +City of Frisco,    c/o Elizabeth Weller,    Linebarger Goggan Blair & Sampson, LLP,
               2323 Bryan Street, Suite 1600,     Dallas, TX 75201-2644
8575618       City of Lake Worth,    c/o Elizabeth Banda,    PO Box 13430,    Arlington,TX 76094-0430
8693766      +City of Memphis,    c/o Elizabeth Weller,    Linebarger Goggan Blair & Sampson, LLP,
               2323 Bryan Street, Suite 1600,     Dallas, TX 75201-2644
8631491      +City of Newport News,    Office of the City Attorney,     2400 Washington Ave.,
               Newport News, VA 23607-4301
8614927      +City of Philadelphia,    c/o Ashley M. Chan,    One Logan Sq. 27th Floor,
               Philadelphia, PA 19103-6910
8656193      +City of Taylor Michigan,    c/o Kurt M. Kobiljak,     Edelson Building, Suite 200,
               2915 Biddle Avenue,    Wyandotte, MI 48192-5267
8908573      +City of Trotwood,    Income Tax Department,    4 Strader Dr,    Trotwood, OH 45426-3343
8710993      +Clean Carton Co Inc,    8437 Delport,    St. Louis, MO 63114-5996
8680885      +Cleveland Towne Center, LLC,    c/o Miller & Martin PLLC,     Attn: Nicholas W. Whittenburg,
               832 Georgia Avenue, Suite 1000,     Chattanooga, TN 37402-2289
8615096      +Cobb Corners II, LP,    c/o Amy Pritchard Williams,     214 North Tryon Street,    Suite 4700,
               Charlotte, NC 28202-2367
8629815      +Cohesion Products, Inc.,    c/o Receivable Management Services,     PO Box 5126,
               Timonium, MD 21094-5126
8591390       Colorado Structures, Inc. dba CSI Constr. Co,     c/o Mary E. Olden,    McDonough Holland & Allen PC,
               555 Capitol Mall, 9th Floor,     Sacramento, CA 95814-4692
8591383      +Colorado Structures, Inc., dba CSI Construction Co,      c/o Mary E. Olden; Andre K. Campbell; Se,
               McDonough Holland & Allen PC,     555 Capitol Mall, 9th Floor,    Sacaramento, CA 95814-4692
8616162      +Columbia Plaza Joint Venture,     % Jordan Humphreys, Attorney,    3210 Bluff Creek,
               Columbia, MO 65201-3525,    573-449-2503,    jhumphreys@fpb-law.com
8570388       Commonwealth of VA Dept. of Taxation,     c/o Jeffrey Scharf,    PO Box 771476,    Richmond, VA 23255
8570386       Commonwealth of VA, Dept. of Taxation,     c/o Mark Ames,    PO Box 2156,    Richmond, VA 23218-2156
8649740      +Commonwealth of Virginia,    Department of Taxation,     PO Box 2156,   Richmond VA 23218-2156
8902009      +Commonwealth of Virginia,    Department of Taxation,     Taxing Authority Consulting Services PC,
               PO Box 71476,    Richmond VA 23255-1476
8570381       Comptroller of Public Accounts of State of Texas,      c/o Mark Browning, Asst. Atty. General,
               Bankruptcy & Collections Division,     PO Box 12548,    Austin, TX 78711-2548
8625449      +Condan Enterprises LLC,    c/o Siller Wilk LLP,    675 Third Avenue,    New York, NY 10017-5704,
               Attention: Eric J. Snyder, Esq.
8716640      +Convergys Customer Management Group Inc.,     c/o Michael J. O’Grady, Esq.,     Frost Brown Todd LLC,
               201 E. Fifth Street, Suite 2200,     Cincinnati, OH 45202-4182
8825768      +Credit Suisse International,    11 Madison Avenue, 5th Floor,     New York, NY 10010-3643
8697582      +Crossways Financial Associates, LLC,     Paul K. Campsen,    Kaufman & Canoles, P.C.,
               150 W. Main Street, Suite 2100,     Norfolk, VA 23510-1681
8600964       Cypress Fairbanks ISD,    c/o John P Dillman,    Linebarger Goggan Blair & Sampson LLP,
               P.O. Box 3064,    Houston, Tx. 77253-3064
8825775      +D-Link Systems, Inc.,    17595 Mt. Herrmann Street,     Fountain Valley, CA 92708-4160
8571205      +DFS SERVICES LLC,    C/O BRIAN SIROWER, ESQ.,    QUARLES & BRADY LLP,     TWO NORTH CENTRAL AVENUE,
               PHOENIX, AZ 85004-2322
8615095      +DIM Vastgoed, N.V.,    c/o Amy Pritchard Williams,     214 North Tryon Street,    Suite 4700,
               Charlotte, NC 28202-2367
8578489      +Dallas County,    Linebarger Goggan Blair & Sampson LLP,     Elizabeth Weller,
               2323 Bryan Street, Suite 1600,     Dallas, TX 75201-2637
8572197      +Dallas County and Tarrant County,     % Linebarger Goggan Blair & Sampson LLP,
               Attn: Elizabeth Weller, Esq.,      2323 Bryan St., Ste. 1600,    Dallas, TX 75201-2637
8703551       Dawn vonBechmann,    Attn: Neil E. McCullagh, Esq.,     Cantor Arkema, P.C.,    P.O. Box 561,
               Richmond, Va 23218-0561
8581072      +DeMatteo Management, Inc.,    c/o Jennifer V. Doran, Esq.,     Hinckley Allen & Snyder LLP,
               28 State Street,    Boston, MA 02109-1776
8578346      +Developers Diversified Realty Corp.,     Attn: Eric C. Cotton,     3300 Enterprise Parkway,
               Beachwood, OH 44122-7200
8570420      +Developers Diversified Realty Corp.,     c/o Eric Cotton,    3300 Enterprise Parkway,
               PO Box 227042,    Beachwood, OH 44122-7200
8570418      +Developers Diversified Realty Corp.-DDR,     c/o James Carr,    Kelley Drye & Warren,
               101 Park Ave.,    New York, NY 10178-0062
8570419      +Developers Diversified Realty Corp.-DDR,     c/o Robert L. LeHane,    Kelley Drye & Warren,
               101 Park Ave.,    New York, NY 10178-0062
8577114      +Dicker-Warmington Properties,     c/o Stephen Spence & Scott Adkins,    1200 North Broom Street,
               Wilmington, DE 19806-4204
8592221      +Discovery Communications, Inc. (4109),     c/o Szabo Associates, Inc.,
               3355 Lenox Road NE, 9th Floor,     Atlanta, GA 30326-1394
8582907      +Ditan Distribution LLC,    c/o Michael S. Kogan, Esq.,     Ervin, Cohen & Jessup LLP,
               9401 Wilshire Boulevard, Suite 900,     Beverly Hills, California 90212-2974
8572548      +Dollar Tree Store, Inc.,    % Scott Kipnis, Rachel Greenberger &,
               Nicholas Malito Esqs, Hofheimer Gartlir,     530 Fifth Ave.,    New York, NY 10036-5101
8712287      +Donahue Schriber Realty Group, L.P.,     c/o Nancy Hotchkiss, Esquire,     Trainor Fairbrook,
               980 Fulton Avenue,    Sacramento, CA 95825-4558
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8719787      +Donahue Schriber Realty Group, L.P.,     c/o Trainor Fairbrook,    Nancy Hotchkiss, Esq.,
               980 Fulton Avenue,    Sacramento, CA 95825-4558
8649784      +Dunwell, Donovan,    c/o Chiariello & Chiariello,     118-21 Queens Boulevard, Ste. 603,
               Forest Hills, NY 11375-7206
8617383       Duquesne Light Company,    c/o Kirk B. Burkley, Esquire,     Bernstein Law Firm, P.C.,
               Suite 2200, Gulf Tower,    Pittsburgh, PA 15219
8568654       E&A Northeast Limited Partnership,     c/o Christine D. Lynch, Esq.,    Peter D. Bilowz, Esq.,
               Goulston & Storrs, PC,    400 Atlantic Avenue,    Boston, MA 02110-3333
8695142       Edwin Watts Golf Shops, LLC,    c/o Stephen E. Scarce,     6802 Paragon Place, Suite 300,
               Richmond, VA 23230-1655
8620569      +Eel McKee LLC,    c/o Howard, Rice et al.,    Attn: Gary M. Kaplan, Esq.,
               Three Embarcadero Center, 7th Floor,     San Francisco, California 94111-4078
8615100      +Encinitas PFA, LLC,    c/o Amy Pritchard Williams,     214 North Tryon Street,    Suite 4700,
               Charlotte, NC 28202-2367
8607425      +Engineered Structures, Inc,    c/o Kimbrell Gourley,     The 9th & Idaho Center,
               225 N. 9th St. # 820,    PO Box 1097,    Boise, ID 83701-1097
8622528      +Engineered Structures, Inc.,    c/o Rob Shockley,     12400 W. Overland Rd.,    Boise, ID 83709-0021
8593280      +Entergy Arkansas Inc,    c/o Robert W. Mallard,    1105 North Market St. # 1600,
               Wilimington, DE 19801-1201
8593279      +Entergy Gulf States Louisiana,     c/o Robert W. Mallard,    1105 North Market St. # 1600,
               Wilimington, DE 19801-1201
8593278      +Entergy Louisiana, LLC,    c/o Robert W. Mallard,     1105 North Market St. # 1600,
               Wilimington, DE 19801-1201
8593277      +Entergy Mississippi,    c/o Robert W. Mallard,    1105 North Market St. # 1600,
               Wilimington, DE 19801-1201
8593281      +Entergy Texas, Inc,    c/o Robert W. Mallard,    1105 North Market St. # 1600,
               Wilimington, DE 19801-1201
8575375      +Envision Peripherals, Inc,    c/o Gay Richey, Sr. Creidt Manager,     47490 Seabridge Drive,
               Fremont, CA 94538-6548
8667374      +Equitable Gas Bankruptcy Department,     Attn: Judy Gawlowski,    200 Allegheny Center Mall,
               Pittsburgh, Pa 15212-5339
8571855      +Evergreen Plaza Associates,    c/o John L. Senica,     225 W. Washington, Suite 2600,
               Chicago, IL 60606-2418
8577124      +Expesite, LLC,    c/o Andria Beckham & Kenneth Johnson,     100 S. Third Street,
               Columbus, OH 43215-4236
8868147      +Express Services, Inc.,    P.O. Box 179,    Piedmont, OK 73078-0179
8572509      +F&M Properties, Inc.,    % Fred B. Ringel, Esq.,    Robinson Brog Leinwand Greene et al,
               1345 Ave. of the Americas,    New York, NY 10105-0302
8574638      +F.R.O., LLC IX,    c/o Timothy F. Brown,    Arent Fox LLP,    1050 Connecticut Ave. NW,
               Washington, DC 20036-5303
8891336      +Fairfax County, VA,    Office of the County Attorney,     12000 Government Center Pkwy.,    Suite 549,
               Fairfax, Virginia 22035-0001
8593129      +Faram Muskegon, LLC,    c/o Paul K. Campsen, Esq.,     Kaufman & Canoles, P.C.,    P. O. Box 3037,
               Norfolk, VA 23514-3037
8577738      +Federal Realty Investment Trust,     c/o Ballard Spahr Andrews & Ingersoli,
               51st Floor-Mellon Bank Center,     1735 Market Street,    Philadelphia, PA 19103-7501
8696163      +Food Lion LLC,    c/o Linda Lemmon Najjoum,    Hunton & Williams LLP,
               1751 Pinnacle Drive, Suite 1700,     McLean, Virginia 22102-3836
8600914       Fort Bend County,    c/o John P Dillman,    Linebarger Goggan Blair & Sampson LLP,     P.O. Box 3064,
               Houston, Tx. 77253-3064
8641709      +Four Star International Trade,     c/o Wendy M. Mead,    11 Pleasant St. # 30,
               Worcester, MA 01609-3232
8578296      +Garmin International, Inc.,    Attn: Andrew Etkind,      1200 East 151st Street,
               Olathe, KS 66062-3426
8615571      +General Growth Properties, Onc,     c/o Robert L. LeHane,    101 Park Ave.,
               New York, NY 10178-0002
8687309       Giant Eagle, Inc.,    c/o Darlene M. Nowak, Esq.,     Marcus & Shapira LLP,
               35th Floor One Oxford Centre,     Pittsburgh PA 15219
8686083      +Giant Eagle, Inc.,    101 Kappa Drive,    Pittsburgh PA 15238-2833
8888216      +Glenmoor Limited Partnership,    c/o Kevin L. Sink, Attorney,     P.O. Box 18237,
               Raleigh, NC 27619-8237
8614959      +Greece Ridge, LLC,    c/o Thomas W. Daniels,    1265 Scottsville Rd.,    Rochester, NY 14624-5104
8601826      +Green 521 5th Avenue LLC,    c/o Stempel Bennett Claman & Hochberg, P,
               675 Third Avenue, 31st floor,     New York, New York 10017-5704,    Attn: Edmond P. O’Brien, Esq.
8719786      +Greenback Associates,    c/o Trainor Fairbrook,    Nancy Hotchkiss, Esq.,    980 Fulton Avenue,
               Sacramento, CA 95825-4558
8626594      +Gregg County,   c/o Laurie A. Spindler,     Linebarger Goggan Blair & Sampson, LLP,
               2323 Bryan Street, Suite 1600,     Dallas, TX 75201-2644
8693654      +Gregg County,   c/o Elizabeth Weller,     Linebarger Goggan Blair & Sampson, LLP,
               2323 Bryan Street, Suite 1600,     Dallas, TX 75201-2644
8654027       HENRICO COUNTY,    P.O. BOX 90775,    HENRICO, VIRGINIA 23273-0775
8643402      +Hallaian,   Walter Wilhelm Law Group,     Attn: Michael L. Wilhelm, Esq.,
               7110 N. Fresno Street, Suite 400,     Fresno, CA 93720-2933
8620770      +Hallaian,   c/o Walter Wilhelm Law Group,     Attention: Michael L. Wilhelm, Esq.,
               7110 N. Fresno Street, Suite 400,     Fresno, CA 93720-2933
8572463      +Hamilton Beach Brands, Inc.,    Bill Ray,    4421 Waterfront Drive,    Glen Allen, VA 23060-3375
8919898       Harris County TRA,    c/o John P Dillman,    Linebarger Goggan Blair & Sampson LLP,     P.O. Box 3064,
               Houston, Tx. 77253-3064
8600909       Harris County et al,    c/o John P Dillman,    Linebarger Goggan Blair & Sampson LLP,
               P.O. Box 3064,    Houston, Tx. 77253-3064
8685598       Heartland Regional Medical Center,     c/o Michael I. Mossman, Attorney at Law,     P.O. Box 330129,
               Nashville, TN 37203-7501
8574843      +Hewlett Packard Company,    c/o Roy Terry, Jr.,    600 E. Main Street, 20th Floor,
               Richmond, VA 23219-2430
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8578136      +Hewlett-Packard Company,    Attn: Ramona Neal/Chris Patafio,      11307 Chinden Blvd., MS 314,
               Boise, ID 83714-1021
8672552       Hillson Electric Incorporated,    c/o: Gary V. Fulghum,     Seigfreid, Bingham,
               2800 Commerce Tower, 911 Main Street,     Kansas City, MO 64105
8607207      +Home Depot USA, Inc.,    c/o Elizabeth C. Freeman,    LOCKE LORD BISSELL & LIDDELL LLP,
               600 Travis Street, Suite 3400,    Houston, Texas 77002-2926
8607208      +Home Depot USA, Inc.,    c/o Melissa S. Hayward,    LOCKE LORD BISSELL & LIDDELL LLP,
               2200 Ross Avenue, Suite 2200,    Dallas, Texas 75201-2748
8582425      +Homero Alonso Mata,    c/o David G. Reynolds, Esq.,     PO Box 1700,    Corrales, NM 87048-1700
8581311      +Homero Mata,    c/o David G. Reynolds, Esq.,    PO Box 1700,    Corrales, NM 87048-1700
8840578      +Horizon Connections, Inc,    c/o Robert Dodd & Associates, LLC,      303 S. Mattis, Ste. 201,
               Champaign, IL 61821-3070
8596848      +IBM Corporation,    c/o Vicky Namken,    13800 Diplomat Dr.,    Dallas, TX 75234-8812
8601627      +Illinois Dept. of Employment Security,     Attorney General Section - 9th Floor,      33 S. State St.,
               Chicago, IL 60603-2804
8673700      +Impressions Marketing Group,    7951 Angleton Ct.,    Lorton, VA 22079-1012
8596898      +InfoPrint Solutions Company,    c/o IBM Corporation,     ATTN: Vicky Namken,    13800 Diplomat Dr.,
               Dallas, TX 75234-8812
8568677       Interstate Augusta Properties LLC,     c/o Christine D. Lynch, Esq.,     Peter D. Bilowz, Esq.,
               Gouslton & Storrs, P.C.,    400 Atlantic Avenue,    Boston, MA 02110-3333
8680886      +Interstate Waste Services,    c/o RMS Bankruptcy Recovery Services,      P.O. Box 5126,
               Timonium, Maryland 21094-5126
8825927      +Ion Audio, LLC,    200 Scenic View Drive,    Suite 201,    Cumberland, RI 02864-1847
8672723      +Iron Mountain Information Management, Inc.,     c/o Frank F. McGinn, Esq.,
               Bartlett Hackett Feinberg P.C.,     155 Federal Street, 9th Floor,     Boston, MA 02110-1610
8578547      +Irving ISD,    Linebarger Goggan Blair & Sampson LLP,     Elizabeth Weller,
               2323 Bryan Street, Suite 1600,    Dallas, TX 75201-2637
8596627      +JWC/Loftus LLC,    2595 Canyon Blvd. Suite 250,    Boulder, CO 80302-6744
8575334      +James Donaldson,    Core Properties, Inc.,    831 East Morehead St. Ste 445,
               Charlotte, NC 28202-2784
8672551       John Rohrer Contracting Company, Inc.,     c/o: Gary V. Fulghum,     Seigfreid, Bingham,
               2800 Commerce Tower, 911 Main Street,     Kansas City, MO 64105
8723692      +Johnson City Crossing L.P.,    950 East Paces Ferry Road, Suite 975,      Atlanta, GA 30326-1180
8684467      +K&G/Dearborn, LLC,    c/o Jess R Bressi Esq,    19800 MacArthur Blvd Ste 500,
               Irvine CA 92612-2480
8701318      +KCOP Television (303),    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8748595      +KENTUCKY DEPARTMENT OF REVENUE,    LEGAL BRANCH - BANKRUPTCY SECTION,      ATTN: LEANNE WARREN,
               P O BOX 5222,    FRANKFORT KY 40602-5222
8767332      +KPLR Television (8097),    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8605100      +KPNX-TV (367),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8623647      +KSDK-TV (0361),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8581075      +KTNV Television (0869),    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8701392      +KTTV Television (1795),    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8623660      +KTVD-TV (8982),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8692432      +KTVI Television (372),    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8581016      +KTVK/KASW Television (7070),    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8623708      +KUSA-TV (0295),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8623704      +KXTV-TV (1475),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8687440      +Katsky Korins LLP,    Attn: Steven H. Newman, Esquire,      605 Third Avenue,
               New York, NY 10158-0180
8584107       Ken Burton, Jr., Manatee County Tax Collector,     PO Box 25300,     Bradenton, FL 34206-5300
8681046      +Kina Thompson,    c/o Linda J. Brame,    111 W. Main St. P.O. box 700,     Marion, IL 62959-0700
8658711      +Klipsch, LLC,    c/o Michael K. McCrory,    BARNES & THORNBURG LLP,     11 S. Meridian Street,
               Indianapolis, IN 46204-3535
8578229      +L.G. Electronics USA, Inc,    Attn: Brian Wehr % H. Jason Gold,       Wiley Rein LLP,
               7925 Jones Branch Dr.,    McLean, VA 22102-3365
8610452      +LA Dept of Revenue,    PO Box 66658,    Baton Rouge, LA 70896-6658
8617068      +Landmark Communications, Inc.,    c/o Paul A. Driscoll,     Pender & Coward, P.C.,
               222 Central Park Avenue, Suite 400,     Virginia Beach, VA 23462-3026
8672553       Lang Construction, Inc.,    c/o: Gary V. Fulghum,    Seigfreid, Bingham,
               2800 Commerce Tower, 911 Main Street,     Kansas City, MO 64105
8578183      +Lexington Lion Weston I LP,    c/o Brian P. Hall,    1230 Peachtree St., N.E.,
               Suite 3100, Promenade II,    Atlanta, GA 30309-3574
8720848       MDS Realty II, LLC,    c/o Meredith L. Yoder, Esq.,     Parker, Pollard & Brown, P.C.,
               6802 Paragon Place, Suite 300,    Richmond, VA 23230-1655
8567308      +Madison Waldorf, LLC,    c/o Madison Marquette Realty Services,      c/o Mitchell B. Weitzman, Esq.,
               Bean Kinney & Korman, PC,    2300 Wilson Blvd., 7th Floor,     Arlington, VA 22201-5424
8608684      +Mall Properties and U.S. 41 & I-285 Company,     c/o Morgan Lewis & Bockius LLP,      101 Park Avenue,
               New York, NY 10178-0002,    Attn: Neil E. Herman
8691414      +Mallview Plaza Company, Ltd.,    c/o Carnegie Management and Development,
               27500 Detroit Rd., Ste. 300,    Westlake, Ohio 44145-5913
8701307      +Marco Portland General Partnership,     Attention: Carol Southard,     29435 Weeping Willow Drive,
               Agoura Hills, CA 91301-4136
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8567200       Mark Browning,    Assistant Attorney General,     Bankruptcy & Collections Division,     PO Box 12548,
               Austin, TX 78711 2548
8693218      +Maryland Acquisitions, LLC,     c/o Miles & Stockbridge P.C.,    1751 Pinnacle Drive,     Suite 500,
               McLean, VA 22102-3833
8589705      +McKinley, Inc.,    c/o Seth A. Drucker, Esq.,     Honigman Miller Schwartz and Cohn LLP,
               2290 First National Building,     660 Woodward Avenue,    Detroit, MI 48226-3516
8592418      +Middle Tennessee Electric Membership Corporation,      555 New Salem Road,
               Murfreesboro, TN 37129-3390
8644353      +Mike B. Dohrmann,    34945 N Karan Swiss Circle,     Queen Creek, AZ 85243-4856
8582426      +Monarch Alternative Capital LP,     c/o Andrew Herenstein,    535 Madison Ave.,
               New York, NY 10022-4212
8583090      +Monte Vista Crossings, LLC,     c/o Donahue Gallagher Woods LLP,     attn: William R. Hill, Esq.,
               300 Lakeside Drive, Suite 1900,     Oakland, California 94612-3570
8600989       Montgomery County,    c/o John P Dillman,     Linebarger Goggan Blair & Sampson LLP,     P.O. Box 3064,
               Houston, Tx. 77253-3064
8583956       NPP Development LLC,    c/o Christine D. Lynch, Esq.,     Goulston & Storrs, P.C.,
               400 Atlantic Avenue,    Boston, MA 02110-3333
8667550      +National Glass & Gate,    c/o Coface North America, Inc.,     50 Millstone Rd., Bldg. 100, Ste. 360,
               East Windsor, NJ 08520-1415
8697812      +Newport News Shopping Center, LLC,     Paul K. Campsen,    Kaufman & Canoles, P.C.,
               150 W. Main Street, Suite 2100,     Norfolk, VA 23510-1681
8749372      +North American Roofing Services, Inc.,     c/o Doug Frankey,    3 Winner Circle,
               Arden, NC 28704-3156
8701894      +Northeast Verizon Wireless,     PO Box 3397,    Bloomington, IL 61702-3397
8669976     ++OHIO BUREAU OF WORKERS COMPENSATION,     LAW SECTION BANKRUPTCY UNIT,     P O BOX 15567,
               COLUMBUS OH 43215-0567
             (address filed with court: Ohio Bureau of Workers’ Compensation,        PO Box 15567,
               Columbus, Ohio 43215-0567)
8607718       OHIO DEPARTMENT OF TAXATION,     BANKRUPTCY DIVISION,    P.O. BOX 530, COLUMBUS, OH. 43216
8588482      +ON Corp US, Inc.,    ON Corp,    c/o Olshan Grundman Frome Rosenzweig & W,     65 East 55th Street,
               New York, New York 10022-3219
8596806      +Oklahoma County Treasurer,     c/o Tammy Jones,    320 Robert S. Kerr,
               Oklahoma City, OK 73102-3457
8681901      +Oracle USA, Inc.,    c/o Shawn M. Christianson,     Buchalter Nemer,    333 Market St., 25th Floor,
               San Francisco, CA 94105-2126
8700430      +Orange Grove Apartments, LLC dba Camelback Center,      c/o Valerie L. Marciano, Esq.,
               Jaburg & Wilk, PC,    3200 North Central Avenue, #2000,     Phoenix, Arizona 85012-2463
8831952      +PC Mall, Inc.,    c/o Jeffrey M. Galen, Esq.,     Galen & Davis, LLP,
               16255 Ventura Blvd., Suite 900,     Encino, CA 91436-2317
8587594      +PNY Technologies, Inc.,    c/o Angela Abreu,     McCarter & English, LLP,    Four Gateway Center,
               100 Mulberry Street,    Newark, NJ 07102-4056
8569508      +Pamela Gale Johnson,    Baker & Hostetler, LLP,     1000 Louisiana, Ste. 2000,
               Houston, TX 77002-5018
8699198      +Pan AM Equities, Inc.,    c/o Law Offices of David A. Greer PLC,
               500 East Main Street, Suite 1225,     Norfolk, Virginia 23510-2274
8578076      +Pan Am Equities, Inc.,    c/o Michael J. Sage,     O’Melveny & Myers,    7 Times Square,
               New York, NY 10036-6524
8607210      +Parago, Inc.,    c/o Melissa S. Hayward,     LOCKE LORD BISSELL & LIDDELL LLP,
               2200 Ross Avenue, Suite 2200,     Dallas, Texas 75201-2748
8571089      +Paramount Home Entertainment,     c/o Michael L. Tuchin,    Klee, Tuchin, Bogdanoff & Stern LLP,
               1999 Avenue of the Stars, 39th Fl.,     Los Angeles, CA 90067-6049
8691730      +Parker Bullseye LLC,    c/o Joel T. Marker,     McKay, Burton & Thurman,
               170 South Main St., Suite 800,     Salt Lake City, UT 84101-1656
8603698      +Pasadena Independent School District,     c/o Dexter D. Joyner,     Law Office of Dexter D. Joyner,
               4701 Preston Avenue,    Pasadena, Texas 77505-2050
8673969      +Patrick S. Longood,    8124 Hampton Spring Road,     Chesterfield, Virginia 23832-2030
8593127      +Pelkar Muskegon, LLC,    c/o Paul K. Campsen, Esq.,     Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
8615828      +Phoenix Property Company,     c/o Jason Binford,    Haynes and Boone, LLP,
               2323 Victory Avenue, Suite 700,     Dallas, TX 75219-7673
8601078      +Pima County Treasurer & Pima County, Arizona,      c/o Pima County Attorney’s Office,
               32 N. Stone Avenue, Ste 2100,     Tucson, AZ 85701-1416
8785786       Pinnacle Systems, Inc.,    c/o Bill Coats, Esq.,     White & Case LLP,
               3000 El Camino Real, 5 Palo Alto Sq.,     Palo Alto, CA 94306
8785819       Pinnacle Systems, Inc.,    c/o William Sloan Coats/Peter J. Carney,      WHITE & CASE LLP.,
               3000 El Camino Real,5 Palo Alto Sq., 9th,      Palo Alto, CA 94306
8670516      +Plantation Point Development, LLC,     c/o Lyndel Anne Mason,
               CAVAZOS HENDRICKS POIROT & SMITHAM P.C.,      900 Jackson St.,Ste 570, Founders Sq.,
               Dallas, TX 75202-2413
8710804      +Plasti Cart Inc,    116B Walton Park Ln,     Midlothian VA 23114-3028
8600376      +Platform-A Inc.,    c/o Tiffany Strelow Cobb,     Vorys, Sater, Seymour and Pease LLP,
               52 East Gay Street,    Columbus, Ohio 43215-3161
8655675       Plaza Las Americas, Inc.,     c/o Holland & Knight LLP,    James H. Rollins, Esq.,
               Suite 2000, One Atlantic Center,     1201 West Peachtree Street, N.E.,     Atlanta, GA 30309-3400
8589805      +Polaris Circuit City, LLC,     8800 Lyra Drive, Suite 550,    Columbus, Ohio 43240-2107,
               Attn: Franz A. Geiger
8692842      +Port Arthur Holdings, III, Ltd.,     c/o David H. Cox, Esq.,    Jackson & Campbell, PC,
               1120 20th Street, NW, Suite 300-S,     Washington, DC 20036-3437
8710856      +Power Sales,    Attn: Toni Evans,    801 N Meadowbrook,    Olathe, KS 66062-5443
8615097      +PrattCenter, LLC,    c/o Amy Pritchard Williams,     214 North Tryon Street,    Suite 4700,
               Charlotte, NC 28202-2367
8685620      +Pretlow & Pretlow, P.C.,    200 N. Main Street,     Suffolk, VA 23434-4421
8685623      +Pretlow & Pretlow, PC,    200 N. Main Street,     Suffolk, VA 23434-4421
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8648811      +PriceGrabber.com, Inc.,    c/o Joseph D. Frank,     Frank/Gecker LLP,
               325 North LaSalle Street, Suite 625,     Chicago, Illinois 60654-6465
8586830      +Prince George’s Station Office, LLC,     c/o Taylor Development and Land,
               7201 Wisconsin Avenue, Suite 500,     Bethesda, MD 20814-4848
8586669      +Prince George’s Station Retail, LLC,     c/o Taylor Development and Land,
               7201 Wisconsin Avenue, Suite 500,     Bethesda, MD 20814-4848
8604948      +Public Service of North Carolina,     c/o David B. Wheeler, Esq.,     Moore & Van Allen PLLC,
               P.O. Box 22828,    Charleston, SC 29413-2828
8670283      +RAY FOGG CORPORATE PROPERTIES, LLC.,     C/O WELTMAN, WEINBERG & REIS,
               323 W. LAKESIDE AVE., 2ND FL,    CLEVELAND, OH 44113-1009
8593049      +RLV Village Plaza, LP,    c/o Paul K. Campsen, Esq.,     Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
8593124      +RLV Vista Plaza, LP,    c/o Paul K. Campsen, Esq.,     Kaufman & Canoles, P.C.,    P. O. Box 3037,
               Norfolk, VA 23514-3037
8593048      +Ramco JW, LLC,    c/o Paul K. Campsen, Esq.,    Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
8593047      +Ramco West Oaks I, LLC,    c/o Paul K. Campsen, Esq.,     Kaufman & Canoles, P.C.,     P. O. Box 3037,
               Norfolk, VA 23514-3037
8582821       Ray Mucci’s Inc.,    c/o Christine D. Lynch, Esq.,     Goulston & Storrs, P.C.,
               400 Atlantic Avenue,    Boston, MA 02110-3333
8593126      +Rebs Muskegon, LLC,    c/o Paul K. Campsen, Esq.,     Kaufman & Canoles, P.C.,    P. O. Box 3037,
               Norfolk, VA 23514-3037
8656186      +Reliance Figueroa Associates, L.P.,     c/o Lambert Development LLC,     5 Hanover Square,
               New York, NY 10004-2614
8656800      +Reliance Figueroa Associates, L.P.,     c/o Aaron R. Cahn,    Carter Ledyard & Milburn LLP,
               Two Wall Street,    New York, New York 10005-2072
8703450       Richard T. Miller, Jr.,    Attn: Neil E. McCullagh, Esq.,     Cantor Arkema, P.C.,     P.O. Box 561,
               Richmond, VA 23218-0561
8875433      +Ricmac Equities Corporation,    6 Harbour Point Drive,     Northport, NY 11768-1557
8590045      +Ritz Motel Company,    c/o Seth A. Drucker, Esq.,     Honigman Miller Schwartz and Cohn LLP,
               2290 First National Building,    660 Woodward Avenue,     Detroit, MI 48226-3516
8673707      +Riverside Claims LLC,    P.O. Box 626,    New York, NY 10024-0626
8673699      +Riverside Claims LLC,    P.O. Box 626,    Planetarium Station,    New York, NY 10024-0626
8619562      +Rockwall CAD,    Linebarger Goggan Blair & Samspon, LLP,     c/o Elizabeth Weller,
               2323 Bryan Street, Suite 1600,    Dallas, TX 75201-2644
8619466      +Rockwall County,    Linebarger Goggan Blair & Samspon, LLP,     c/o Elizabeth Weller,
               2323 Bryan Street, Suite 1600,    Dallas, TX 75201-2644
8723691      +Ronus Meyerland Plaza L.P.,    3290 Northside Parkway, Suite 250,      Atlanta, GA 30327-2215
8568676       Route 146 Millbury LLC,    c/o Christine D. Lynch, Esq.,     Peter D. Bilowz, Esq.,
               Gouslton & Storrs, P.C.,    400 Atlantic Avenue,     Boston, MA 02110-3333
8568678       S.R. Weiner & Associates Inc.,    c/o Christine D. Lynch, Esq.,     Peter D. Bilowz, Esq.,
               Gouslton & Storrs, P.C.,    400 Atlantic Avenue,     Boston, MA 02110-3333
8593405      +SAP Retail, Inc. and Business Objects,     c/o Brown & Connery LLP,     6 North Broad Street,
               Woodbury, NJ 08096-4635
8868285      +Salamander Designs,    Attention: Salvatore R. Carraba,     811 Blue Hills Avenue,
               Bloomfield, CT 06002-3709
8578159      +Samsung Electronics America, Inc.,     Phillip J. Landau, Esq.,    Akerman Senterfitt,
               350 E. Las Olas Blvd, Ste. 1600,     Ft. Lauderdale, FL 33301-4247
8659743      +Samsung Electronics America, Inc.,     Attn: Joseph McNamara,     105 Challenger Rd.,
               Ridgefield Park, NJ 07660-2113
8749458      +Sara L. Chenetz, Esq.,    Sonnenschein Nath & Rosenthal LLP,
               601 South Figueroa Street, Suite 2500,     Los Angeles, CA 90017-5709
8619522      +Savitri Cohen,    c/o Ronald G. Dunn,    40 Beaver St.,    Albany, NY 12207-1511
8616777      +Savitri Cohen,    c/o Ronald G. Dunn,    Gleason, Dunn, Walsh & O’Shea,     40 Beaver Street,
               Albany, New York 12207-1511
8580933      +Sharp Electronics Corporation,    c/o Borges & Associates, LLC,     Counsel for Sharp Electronics,
               575 Underhill Blvd. - Ste 118,    Syosset, NY 11791-3438
8623541      +Shimenti Construction Company LLC,     118 North Bedford Road,    Mount Kisco, New York 10549-2553
8578297      +Simon Property Group, Inc.,    Attn: Ronald M. Tucker,      225 W. Washington St.,
               Indianapolis, IN 46204-3438
8606930       Sir Barton Place, LLC,    c/o John P. Brice,    WYATT, TARRANT & COMBS, LLP,
               250 West Main Street, Suite 1600,     Lexington, KY 40507-1746
8577090      +Sirius XM Radio, Inc.,    c/o Eric D. Goldberg,     Stutman, Treister & Glatt,
               1901 Avenue of The Stars, 12th Floor,     Los Angeles, CA 90067-6001
8619471      +Smith County,    Linebarger Goggan Blair & Samspon, LLP,     c/o Elizabeth Weller,
               2323 Bryan Street, Suite 1600,    Dallas, TX 75201-2644
8582379      +Sony Electronic, Inc,    c/o Lloyd Sarakin,    1 Sony Drive, MD #1E-4,     Park Ridge, NJ 07656-8002
8825783      +Sony Electronics Inc.,    16530 Via Esprillo,    San Diego, CA 92127-1708
8620865      +Sony Pictures Entertainment Inc.,     c/o Sara L. Chenetz, Esq.,
               Sonnenschein Nath & Rosenthal LLP,     601 S. Figueroa Street, Suite 2500,
               Los Angeles, CA 90017-5709
8749457      +Sony Pictures Home Entertainment Inc.,     c/o Paul M. Black, Esq.,     Spilman Thomas & Battle, PLLC,
               P. O. Box 90,    Roanoke, VA 24002-0090
8604947      +South Carolina Electric & Gas Company,     c/o David B. Wheeler, Esq.,     Moore & Van Allen PLLC,
               P.O. Box 22828,    Charleston, SC 29413-2828
8657405       Southland Acquisitions, LLC,    c/o Thomas G. King / DS Holmgren,
               Kreis, Enderle, Hudgins & Borsos,     PO Box 4010,    Kalamazoo, MI 49003-4010
8624896       Sprint Nextel Correspondence,     Attn Bankruptcy Dept,     PO Box 7949,
               Overland Park KS 66207-0949
8624897       Sprint Nextel Distribution,    Attn: Bankruptcy Dept,     P.O. Box 3326,    Englewood, CO 80155-3326
8886304      +St. Cloud Associates,    c/o Adam M. Spence,    Spence & Buckler, P.C.,     (Brandywine/CircuitCity),
               P.O. Box 20369,    Baltimore, MD 21284-0369
8639905      +State of Michigan, Department of Treasury,     3030 W. Grand Blvd.,     Suite 10-200,
               Detroit, MI 48202-6030
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8826229      +Sylvania Lighting Services,    100 Endicott Street,    Danvers, MA 01923-3782
8569340      +THQ, Inc.,    c/o Jeffer Mangels Butler & Marmaro LLP,    1900 Avenue of the Stars 7th Floor,
               Los Angeles, CA 90067-4308,    Attn: David M. Poitras P.C.
8641143      +TKG Coffee Tree, L.P.,    c/o Eugene Chang,    Stein & Lubin LLP,
               600 Montgomery Street, 14th Floor,     San Francisco, CA 94111-2716
8571856      +TPG Management Inc.,    c/o John L. Senica,    225 W. Washington, Suite 2600,
               Chicago, IL 60606-2418
8578535      +Tarrant County,    Linebarger Goggan Blair & Sampson LLP,     ELizabeth Weller,
               2323 Bryan Street, Suite 1600,    Dallas, TX 75201-2637
8566899      +Taubman Landlords,    c/o The Taubman Landlords,    Attn. Andrew S. Conway,
               200 East Long Lake Road, Suite 300,     Bloomfield Hills, MI 48304-2324
8596783      +Tax Collector of Madison County, AL.,     c/o Lynda Hall,    100 Northside Sq.,
               Huntsville, AL 35801-4800
8614653      +The City of New York,    ATTN: Gabriela Cacuci,    100 Church St. Room 5/223,
               New York, NY 10007-2601
8676701       The Columbus Dispatch,    c/o Weltman, Weinberg & Reis Co.,     PO Box 93596,
               Cleveland, OH 44101-5596
8888934      +The Dispatch Printing Co.,    34 South Third Street,    Columbus, OH 43215-4201
8575594      +The Goldenberg Group,    c/o Jeffrey Kurtzman,    260 S. Broad Street,
               Philadelphia, PA 19102-5021
8719785      +The Marvin L. Oates Trust,    c/o Trainor Fairbrook,    Nancy Hotchkiss, Esq.,     980 Fulton Avenue,
               Sacramento, CA 95825-4558
8603636      +The McClatchy Company, et al.,    c/o Paul J. Pascuzzi,     Felderstein Fitzgerald,
               Willoughby & Pascuzzi LLP,    400 Capitol Mall, Suite 1450,     Sacramento, CA 95814-4434
8578816      +The Miner Corporation,    c/o Ray Battaglia,    OPPENHEIMER, BLEND, ET.AL.,
               711 Navarro, Suite 600,    San Antonio, Texas 78205-1892
8577766      +The Ziegler Companies,    c/o Mitchell Weitzman,    2300 Wilson Blvd. 7th Floor,
               Arlington, VA 22201-5424
8633296      +Thirty & 141, L.P.,    John E. Hilton,    Carmody MacDonald,    120 S. Central Ave., Ste. 1800,
               Clayton, MO 63105-1726
8619458      +Tom Green CAD,    Linebarger Goggan Blair & Samspon, LLP,     c/o Elizabeth Weller,
               2323 Bryan Street, Suite 1600,    Dallas, TX 75201-2644
8574859      +Toshiba America Consumer Products, LLC,     c/o Jeremy S. Friedberg,    One Corporate Center,
               10451 Mill Run Circle, Suite 1000,     Owings Mills, Maryland 21117-5519
8571346      +Toshiba America Consumer Products, LLC,     82 Totowa Road,    Wayne, NJ 07470-3191
8574860      +Toshiba America Information Systems, Inc,     c/o Jeremy S. Friedberg,    One Corporate Center,
               10451 Mill Run Circle, Suite 1000,     Owings Mills, Maryland 21117-5519
8571347      +Toshiba America Information Systems, Inc.,     9740 Irvine Blvd.,    Irvine, CA 92618-1608
8582354      +Travelers,    One Tower Square, 5MN,    Hartford, CT 06183-0002,    ATTN: Mike Lynch
8691381      +Traverse Square Company, Ltd.,    c/o Carnegie Management and Development,
               27500 Detroit Rd., Ste. 300,    Westlake, Ohio 44145-5913
8566065      +Tysons 3, LLC and its management agent,     The Ziegler Companies, LLC,
               c/o Mitchell B. Weitzman, Esq.,     Bean Kinney & Korman, PC,    2300 Wilson Blvd., 7th Floor,
               Arlington, VA 22201-5424
8577745      +Tysons3, LLC,    c/o Mitchell Weitzman,    2300 Wilson Blvd., 7th Floor,    Arlington, VA 22201-5424
8632561      +UBI Soft, Inc.,    c/o Coface North America, Inc.,    50 Millstone Rd., Bldg. 100, Ste. 360,
               East Windsor, NJ 08520-1415
8588378      +UPS Ground Freight, Inc.,    c/o Faye Feinstein/Christopher Combest,     Quarles & Brady LLP,
               500 W. Madison St., Suite 3700,     Chicago, IL 60661-2589
8708084      +US Debt Recovery LLC,    PO Box 5241,    Incline Village, NV 89450-5241
8615098      +UTC I, LLC,    c/o Amy Pritchard Williams,    214 North Tryon Street,    Suite 4700,
               Charlotte, NC 28202-2367
8588377      +United Parcel Service, Inc.,    c/o Faye Feinstein/Christopher Combest,     Quarles & Brady LLP,
               500 W. Madison St., Suite 3700,     Chicago, IL 60661-2589
8695517      +Universal Remote Control, Inc.,    c/o Rattet Pasternak & Gordon-Oliver, LL,
               550 Mamaroneck Avenue, Suite 510,     Harrison, NY 10528-1609
8566500      +UrbanCal Oakland, II LLC,    c/o Baker & Hostetler, LLP,     ATTN: Laura Lawton Gee,
               1000 Louisiana Street, Suite 2000,     Houston, TX 77002-5018
8615099      +Valley Corners Shopping Center, LLC,     c/o Amy Pritchard Williams,    214 North Tryon Street,
               Suite 4700,    Charlotte, NC 28202-2367
8868289      +VonWin Capital Management, LP,    261 Fifth Avenue, 22nd Floor,     New York, NY 10016-7701
8868287      +VonWin Capital Management, LP,    Attn: Roger Von Spiegel, Managing Direc,
               261 Fifth Avenue, 22nd Floor,    New York, NY 10016-7701
8583553      +Vonage Marketing Inc.,    Angelique Electra,    Vice President - Law,    23 Main Street,
               Holmdel, NJ 07733-2136
8583494      +Vonage Marketing Inc.,    c/o Angelique Electra,    Vice President - Law,     23 Main Street,
               Holmdel, NJ 07733-2136
8605185      +WATL-TV (3477),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8633430      +WBNX-TV (2749),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8701781      +WEC 99A-2, LLC,    116 Gulfstream Road,    Palm Beach, Florida 33480-4708,     Attn: Robert K. Wood
8572555      +WEND-FM Radio/WRFX-FM Radio,    c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8680609      +WESH Television (72),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8680080      +WFLA Television (78),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8680604      +WFTS Television (1742),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8581096      +WFTX Television (8669),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8592226      +WGAL-TV (0762),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
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8605098      +WHP-TV (5666),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8680138      +WKCF Television (8783),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8605133      +WKYC-TV (2038),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8605053      +WLYH-TV (507),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8692484      +WMAR Television (158),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8592232      +WNCN-TV (8602),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8613532      +WOFL Television (862),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8819815      +WPBF Television 6663,     c/o Szabo Associates, Inc.,    3355 Lenox Road NE, Ste. 945,
               Atlanta GA 30326-1357
8611389      +WRBW Television (7079),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8680608      +WSOC Television (227),    c/o Szabo Associates, Inc.,    3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8623705      +WTSP-TV (6307),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8623567      +WUSA-TV (0518),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8605048      +WXIA-TV (0277),   c/o Szabo Associates, Inc.,     3355 Lenox Road NE, 9th Floor,
               Atlanta, GA 30326-1394
8691383      +Water Tower Square Limited Partnership,     c/o Carnegie Management and Development,
               27500 Detroit Rd., Ste. 300,    Westlake, Ohio 44145-5913
8588453      +Watercress Assoc., LP, LLP, dba Pearlridge Ctr.,     c/o Douglas D. Kappler, Esq.,
               Robinson, Diamant & Wolkowitz, APC,     1888 Century Park East, Suite 1500,
               Los Angeles, CA 90067-1719
8698394      +Wayne VF, LLC and Vornado Realty Trust,     c/o W. Williams,    Wilson Elser,
               8444 Westpark Dr #510,    Mclean VA 22102-5138
8698392      +Wayne VF, LLC and Vornado Realty Trust,     c/o Walter L. Williams, Esquire,
               Wilson Elser Moskowitz Edelman & Dicker,,     8444 Westpark Drive - Ste. 510,
               McLea, VA 22102-5138
8584581      +Weidler Settlement Class,    David M. deRubertis, Esq.,    The deRubertis Law Firm,
               21800 Oxnard Street,    Suite 1180,    Woodland Hills, California 91367-7911
8578345      +Weidler Settlement Class,    Attn: C. Jones & Martin Fletcher,     Whiteford Taylor & Preston LLP,
               3190 Fairview Park Dr., Ste. 300,     Falls Church, VA 22042-4559
8570467      +Weingarten Realty Ivestors,    c/o Jenny J. Hyun,    2600 Citadel Plaza Drive,
               Houston, TX 77008-1390
8570466      +Weingarten Realty Ivestors-WRI,    c/o Robert L. LeHane,     Kelley Drye & Warren,    101 Park Ave.,
               New York, NY 10178-0062
8570465      +Weingarten Realty Ivestors-WRI,    c/o James S. Carr,    Kelley Drye & Warren,     101 Park Ave.,
               New York, NY 10178-0062
8681045      +William Gower,   c/o Linda J. Brame,     111 W. Main St. P.O. box 700,    Marion, IL 62959-0700
8574760      +Williamson County et al,    co Michael Reed,    P.O. Box 1269,    Round Rock, TX 78680-1269
8700961      +Windsail Properties LLC,    Brenda Moody Whinery, Esq.,    Mesch Clark & Rothschild PC,
               259 North Meyer Avenue,    Tucson AZ 85701-1090
8683953       Woodlawn Trustees, Incorporated,     c/o Michael P. Falzone,    Hirschler Fleischer, PC,
               P.O. Box 500,   Richmond, VA 23218-0500
8683086      +Yellow Transporation,    c/o RMS Bankruptcy Recovery Services,     P.O. Box 5126,
               Timonium, Maryland 21094-5126
8683088      +Yellow Transportation,    c/o RMS Bankruptcy Recovery Services,     P.O. Box 5126,
               Timonium, Maryland 21094-5126
The following entities were served by electronic transmission on May 15, 2009.
aty          +E-mail/Text: jsdlaw@msn.com                            J. Scott Douglass,    909 Fannin, Ste. 1800,
               Houston, TX 77010-1016
aty          +E-mail/Text: DQENOTICES@BERNSTEINLAW.COM                             S. James Wallace,
               Griffith, McCague & Wallace, P.C.,     The Gulf Tower, #3626,    707 Grant Street, 38th Floor,
               Pittsburgh, PA 15219-1908
aty          +E-mail/Text: HOUBANK@PBFCM.COM                            Yolanda M. Humphrey,
               1235 North Loop West,    Suite 600,    Houston, TX 77008-1772
cr           +Fax: 954-764-7770 May 15 2009 04:35:29       City of Homestead, Florida,    Weiss Serota Helfman,
               c/o Douglas R. Gonzales,    200 E. Broward Blvd.,    Suite 1900,    Fort Lauderdale, FL 33301-1949
cr           +Fax: 954-764-7770 May 15 2009 04:35:29       City of Miramar, FL,    Weiss Serota Helfman,
               c/o Douglas R. Gonzales,    200 E. Broward Blvd.,    suite 1900,    Fort Lauderdale, FL 33301-1949
cr           +E-mail/Text: tc_legal_services@co.palm-beach.fl.us
               Palm Beach County Tax Collector,     PO Box 3715,   West Palm Beach, FL 33402-3715
cr           +E-mail/PDF: rmscedi@recoverycorp.com May 15 2009 08:33:13
               Recovery Management Systems Corporation,     25 SE 2nd Ave Ste 1120,    Miami, FL 33131-1605
cr            E-mail/Text: bankruptcynoticing@polktaxes.com
               Tax Collector For Polk County, FL,     Of Joe G. Tedder,   PO Box 2016,    Bartow, FL 33831-2016
8628131      +Fax: 954-764-7770 May 15 2009 04:35:29       City of Homestead, FL,    c/o Douglas R. Gonzales, Esq.,
               Weiss Serota Helfman,    200 E. Broward Blvd., Suite 1900,    Fort Lauderdale, FL 33301-1949,
               954-763-4242
8628132      +Fax: 954-764-7770 May 15 2009 04:35:29       City of Miramar, FL,    c/o Douglas R. Gonzales,
               Weiss Serota Helfman,    200 E. Broward Blvd., Suite 1900,    Fort Lauderdale, FL 33301-1949,
               954-763-4242
8671825      +E-mail/PDF: BANKRUPTCY.NOTICES@RICHMONDGOV.COM May 15 2009 08:33:10        City of Richmond,
               Department of Public Utilities,     730 E. Broad Street, 5th Floor,
               Richmond, Virginia 23219-1861
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The following entities were served by electronic transmission (continued)
8689371       E-mail/Text: bankruptcynotificationsltd@embarq.com                            Embarq,   PO Box 7971,
               Shawnee Mission, KS 66207-0971
8660718       E-mail/Text: resurgentbknotifications@resurgent.com                            LVNV Funding LLC,
               Resurgent Capital Services,   PO Box 10587,    Greenville, SC 29603-0587
8608600       E-mail/PDF: rmscedi@recoverycorp.com May 15 2009 08:33:01
               Recovery Management Systems Corporation,    25 S.E. 2nd Avenue, Suite 1120,
               Miami, FL 33131-1605
8580805       E-mail/Text: bankruptcynoticing@polktaxes.com
               Tax Collector for Polk County, Florida,   Office of Joe G. Tedder, CFC,     c/o Bonnie Holly,
               PO Box 2016,   Bartow, Florida 33831-2016
8687596      +E-mail/Text: GLOVIERL@CHESTERFIELD.GOV                            Treasurer Chesterfield County,
               PO Box 70,   Chesterfield VA 23832-0001,    attn: Laura Glovier,    (804) 751-4915
8691506      +E-mail/PDF: bankruptcyverizoncom@afni.com May 15 2009 08:33:41       Verizon Inc.,
               404 Brock Drive,   Bloomington, IL 61701-2654
                                                                                              TOTAL: 17
           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty           Alan J. Kornfeld
aty           Gillian N. Brown
aty           Ivan M. Gold
aty           John A. Morris
aty           John M. Brom,    Querrey & Harrow, Ltd.
aty           Lauren Lonergan Taylor,    Duane Morris, LLP
aty           Nicholas B Malito
aty           Rachel N. Greenberger
aty           Scott Shaw
aty           Troutman Sanders LLP
aty           Vivieon E. Kelley
cr            1030 W. North Ave. Bldg. LLC
cr            120 Orchard LLC
cr            13630 Victory Boulevard, LLC
intp          36 Monmouth Plaza LLC
cr            3725 Airport Boulevard, LP
cr            427 Orchard LLC
cr            444 Connecticut Avenue, LLC, Store #3690
cr            502-12 86th Street LLC
cr            553 Retail, LLC
cr            601 Plaza LLC
cr            680 S. Lemon Ave. Co.
cr            AAC Management Corp.
cr            ACXIOM CORPORATION
cr            ALCAL/Arcade Contracting, Inc.
cr            AOL LLC
cr            AT&T
cr            AT&T Corp.
cr            AVR CPC Associates, LLC
cr            Acadia Realty Limited Partnership
cr            Ada Alicea, on behalf of herself and all others si
cr            Advance Real Estate Management, LLC
cr            Advertising.com Inc.
cr            Akamai Technologies, Inc.
cr            Alliance Entertainment Corporation
cr            Altamonte Springs Real Estate Associates, LLC
intp          Alvarez & Marsal Canada, ULC
intp          AmCap Arborland LLC
intp          AmCap NorthPoint LLC
cr            AmREIT, a Texas Real Estate Investment Trust
cr            Amargosa Palmdale Investments, LLC
cr            American Electric Power
cr            American National Insurance Company
cr            Ammon Properties, LC
cr            Andrews Electronics
cr            Annapolis Plaza LLC
cr            Apex Digital, Inc.
cr            Applied Predictive Technologies, Inc.
intp          Arboretum of South Barrington, LLC
cr            Arlington ISD, et al.
cr            Ashkenazy Management Corp.
cr            Audiovox Corporation
cr            Austin Community College
cr            Austin Independent School District
cr            Averatec/Trigem USA
cr            Bagby & Russell Electric Company, Inc.
cr            Baltimore Gas and Electric Company
cr            Bank of America, N.A., as Agent
cr            Basser-Kaufman
cr            Bear Valley Road Partners LLC
cr            Becker Trust LLC
cr            Bell County, County of Denton, Midland Central App
cr            Bell’O International Corp.
cr            Bella Terra Associates, LLC
cr            Belleville News-Democrat
cr            Bellingham Herald
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           ***** BYPASSED RECIPIENTS (continued) *****
cr            Benderson Development Company, LLC
cr            Benenson Capital Company
cr            Bethesda Softworks, LLC
cr            Bexar Co., Cameron Co., Dallas Co., El Paso, Frisc
cr            Biloxi Sun Herald
cr            Bizport, Ltd.
cr            Bond C.C. I Delaware Business Trust
cr            Bond Circuit IV Delaware Business Trust
cr            Bond Circuit VIII Delaware Business Trust
cr            Bond-Circuit IV Delaware Business Trust
intp          Bond-Circuit IX Delaware Business Trust
cr            Boston Gas Company
cr            Boulevard North, LP
intp          Bradenton Herald
cr            Brandywine Grande C, L.P.
cr            Brazoria County Tax Office
intp          Brick-70, LLC
cr            Brighton Commercial, L.L.C.
cr            Brownsville Independent School District
cr            Brownsville Public Utilities Board
cr            Bush Industries, Inc.
cr            CAP Brunswick, LLC
cr            CC Colonial Trust
cr            CC Grand Junction Investors 1998, LLC
cr            CC Hamburg NY Partners, LLC
cr            CC Joilet Trust
cr            CC Joliet Trust
cr            CC Kingsport 98, LLC
cr            CC Merrilville Trust
cr            CC Plaza Joint Venture, LLP
cr            CC Springs, L.L.C.
cr            CC-Investors 1995-6
intp          CCDC Marion Portfolio, L.P.
cr            CDB Falcon Sunland Plaza, LP
cr            CHK, LLC
cr            CIM/Birch St., Inc.
cr            CK Richmond Business Services #2, LLC
cr            COFAL Partners, L.P
cr            COMSYS Information Technology Services, Inc. and C
unk           CT
cr            Cameron County
cr            Canon U.S.A., Inc
cr            Cardinal Capital Partners
cr            Caribbean Display & Construction, Inc.
cr            Carlyle-Cypress Tuscaloosa, LLC
cr            Carolina Power & Light Company d/b/a Progress Ener
cr            Carriage Crossing Market Place LLC
cr            Carrollton Arms, LLC
cr            Catellus Operating Limited Partnership
cr            Catellus Operating Limited Partnership
cr            Cedar Development Ltd., a Florida Limited Partners
cr            Cellco Partnership d/b/a Verizon Wireless
cr            Cencor Realty
cr            Central Georgia Electric Membership Corporation
intp          Centre Daily Times (State College)
cr            Centre at 38th Street TIC, LLC
cr            Centro Properties Group
cr            Chalek Company LLC
cr            Charlotte Observer
cr            Chase Bank USA, National Association
cr            Chelmsford Realty Associates
cr            Children’s Discovery Centers of America, Inc.
cr            Chung Hee Kim (Ridgehaven Plaza Shopping Center)
cr            Circuit City Stores, Inc.
cr            Circuit Investors #2, Ltd.
cr            Circuit Realty NJ LLC
cr            City and County of Denver
cr            City of Austin
cr            City of Fort Worth
cr            City of Garland Tax Assessor/Collector
cr            City of McAllen
cr            City of Novi, MIchigan
cr            City of Philadelphia
cr            City of Round Rock
cr            City of Southlake, Texas
cr            Clean Carton Co., Inc.
cr            Cohab Realty, LLC
cr            Collin County Tax Assessor/Collector
cr            Colorado Department of Revenue
cr            Columbia Equities Limited Partnership
cr            Columbia Plaza Shopping Ceter Venture
cr            Columbia State
cr            Columbus Ledger-Enquier
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           ***** BYPASSED RECIPIENTS (continued) *****
cr            Commerce Technologies, Inc.
cr            Commonwealth Edison Company
cr            Commonwealth of Virginia, Department of Taxation
cr            Compass Group U.S.A. Inc.
cr            Computer Resource Team, Inc.
cr            Concar Enterprises, Inc.
cr            Connecticut Light and Power Company
cr            Connecticut Natural Gas Company
cr            Connexion Technologies
cr            Consolidated Edison Company of New York, Inc.
cr            Continental Properties Company, Inc.
cr            Convergys Customer Management Group Inc.
cr            Cosmo-Eastgate, ltd
cr            Cottonwood Corners-Phase V, LLC
cr            Crossgates Commons NewCo, LLC
cr            Crossroads Associates, Ltd.
cr            Crossroads Shopping Center
cr            Crossways Financial Associates, LLC
cr            Cypress Equities
cr            Cypress/CC Marion I, L.P.
cr            DL Peterson Trust, as Assignee of PHH Vehicle Mana
cr            Dallas County
cr            Daly City Partners I, L.P
cr            De Rito Partners
cr            De Rito Pavilions 139, LLC
cr            DeMatteo Management, Inc.
cr            Dennis Morgan
cr            Descanso TIC, LLC
cr            Developers Diversified Realty Corporation
cr            Dick’s Sporting Goods Inc.
cr            Dick’s Sporting Goods, Inc.
cr            Dicker-Warmington Properties
cr            Digital Innovations, LLC
cr            Ditan Distribution LLC
cr            Dollar Tree Stores, Inc.
cr            Dominion East Ohio
cr            Dominion Hope
cr            Dominion Peoples
cr            Donovan Dunwell
cr            Drexel Delaware Limited Partnership
cr            Duke Energy Carolinas, LLC
cr            Duke Energy Indiana, Inc.
cr            Duke Energy Kentucky, Inc.
cr            Duke Energy Ohio, Inc.
cr            Duquesne Light Company
cr            E&A Northeast Limited Partnership
cr            ELL MCKEE LLC
cr            Eagleridge Associates, LLC
cr            Eastman Kodak Company
intp          Eatontown Commons Shopping Center
cr            Empire HealthChoice Assurance, Inc. d/b/a Empire B
cr            EnergyNorth Natural Gas, Inc. d/b/a National Grid
cr            Engineered Structures, Inc.
cr            Entergy Arkansas, Inc.
cr            Entergy Gulf States Louisiana, L.L.C.
cr            Entergy Louisiana, LLC
cr            Entergy Mississippi, Inc.
cr            Entergy Texas, Inc.
cr            Evergreen Plaza Associates
cr            Expesite, LLC
cr            Express Services, Inc.
cr            F&M Properties, Inc.
cr            FJL-MVP, LLC
cr            FM Facility Maintenance
cr            FM Facility Maintenance, f/k/a IPT, LLC
cr            FR E2 Property Holding, L.P.
cr            FT Orchard LLC
cr            FW CA-BREA Marketplace, LLC, Regency Centers, L.P
intp          Faber Bros., Inc.
cr            Federal Realty Investment Trust
intp          Federal Warranty Service Corporation
cr            First Industrial Realty Trust, Inc.
cr            Fishers Station Development Co.
cr            Flintlock Northridge LLC
cr            Florida Power & Light Company
cr            Florida Power Corporation d/b/a Progress Energy Fl
intp          Food Lion LLC
cr            Fort Bend Independent School District
cr            Fort Steuben Mall
cr            Fort Worth Star-Telegram
cr            Fox Broadcasting Company
cr            Fox Cable Network Services, LLC
intp          Fresno Bee
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           ***** BYPASSED RECIPIENTS (continued) *****
cr            Frisco ISD Tax Assessor/Collector
cr            Fuel Creative, Inc.
cr            GC Acquisition Corp.
cr            GMS Golden Valley Ranch, LLC
cr            GRI-EQY (Sparkleberry Square) LLC
cr            Galleria Plaza, Ltd.
cr            Garland ISD Tax Assessor/Collector
intp          Garmin International, Inc.
cr            Gateway Center Properties III, LLC and SMR Gateway
intp          General Electric Company’s Consumer & Industrial D
cr            General Growth Properties, Inc.
cr            General Instrument Corporation d/b/a Home & Networ
cr            Generation One and Two, LP
cr            Glimcher Properties Limited Partnership
cr            Golf Galaxy, Inc.
cr            Goodmill LLC
cr            Gould Livermore LLC
cr            Granite State Electric
cr            Greater Orlando Aviation Authority
cr            Greece Ridge, LLC
cr            Green 521 5th Avenue LLC
cr            Greystone Data Systems, Inc.
cr            Hagan Properties, Inc.
cr            Hamilton County, Tennessee
cr            Hamilton Crossing
cr            Hamilton Crossing I, LLC
cr            Harry Hallaian
cr            Harvest/HPE LP
cr            Hewlett Packard Company
cr            Holyoke Crossing Limited Partnership II
cr            Home Depot USA, Inc.
cr            IKON Office Solutions, Inc.
cr            Idaho Statesman
cr            Industriaplex, Inc.
cr            Infogain Corporation
cr            Inland American Retail Management LLC
cr            Inland Commercial Property Management, Inc.
cr            Inland Commercial Property Management, Inc.
cr            Inland Continental Property Management Corp.
cr            Inland Pacific Property Services LLC
cr            Inland Southwest Management LLC
cr            Inland Southwest Management LLC, Inland American R
cr            Inland US Management LLC
cr            InnerWorkings, Inc.
cr            International Speedway Square, Ltd.
cr            Interstate Augusta Properties LLC
cr            Island Packet
cr            J. Scott Douglass
cr            JP Morgan Chase & Co.
cr            JWC Loftus LLC
cr            Jackson EMC
intp          James H. Wimmer, Jr., personally
cr            James H. Wimmer, Jr., personally
intp          James M. Stacia
intp          Jeff Leopold
cr            Jeffrey R. Leopold
cr            Jersey Central Power & Light Company
cr            Johnson City Crossing, L.P.
cr            Jones Lang LaSalle Americas, Inc.
unk           Jose Felix Infante Vasques
cr            Judith Rae Minnite
cr            KB Columbus 1-CC, LLC
cr            KNP
cr            KRG Market Street Village, LP
cr            Kansas City Star
cr            KeySpan Gas East Corporation
cr            Kimco Realty Corporation
cr            Kina Thompson
sp            Kirkland & Ellis LLP
cr            Kite Coral Springs, LLC
cr            Knoxville Utilities Board
tee           Korea Export Insurance Corporation
cr            LC White Plains Retail LLC
cr            LG Electronics USA, Inc.
cr            La Habra Imperial, LLC
cr            Laguna Gateway Phase 2, LP
cr            Lea Company, a Virginia general partnership, the A
cr            Leon Hallaian
cr            Lewisville Independent School District
cr            Lexar Media, Inc.
intp          Lexington Herald-Leader
cr            Lexington Lion Weston I LP
cr            Lexmark International, Inc.
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           ***** BYPASSED RECIPIENTS (continued) *****
cr            Lilly Hallaian
intp          Liquid Asset Partners, LLC
cr            Little Britain Holding, LLC
cr            Long Island Lighting Company d/b/a LIPA
cr            Loop West, LLC, by its Managing Agent The Wilder C
cr            Luckoff Land Company, LLC
cr            M and M Berman Enterprises
cr            M.I.A. Brookhaven, LLC
cr            MHW Warner Robins, LLC
cr            Macon Telegraph
cr            Macy’s Retail Holdings, Inc.
cr            Mall Properties and U.S. 41 & I-285 Company
cr            Manteca Stadium Park, L.P.
cr            Manufacturers and Traders Trust Company, as Truste
cr            Marc Realty
cr            Marple XYZ Associates
cr            Martinair, Inc.
cr            Massachusetts Electric Company
cr            McAllen ISD
cr            McClatchy Company
cr            McLennan County
cr            Media General, Inc.
cr            Melvin Walton Hone
intp          Merced Sun Star
cr            Merge Computer Group, Inc.
cr            Metropolitan Edison Company
intp          Miami Herald
cr            Miami-Dade County Tax Collector
cr            Michigan Consolidated Gas Company
cr            Microsoft Corporation
cr            Modelogic, Inc.
intp          Modesto Bee
cr            Moncayo Settlement Class
cr            Monte Vista Crossings, LLC
cr            Morgan Hill Retail Venture, LP
cr            Morse-Sembler Villages Partnership #4
cr            Motorola Inc.
cr            Mount Berry Square, LLC
cr            Myrtle Beach Farms
cr            Myrtle Beach Farms Co., Inc.
cr            Myrtle Beach Sun News
cr            N.P. Huntsville Limited Liability Company
cr            NBT Bank, N.A.
cr            NMC Stratford, LLC
cr            NPP Development LLC
cr            Narragansett Electric Company
cr            National Retail Properties, Inc.
cr            Navarre Corporation
cr            New River Properties, LLC
cr            New York State Electric and Gas Corporation
cr            Niagara Mohawk Power Corporation
cr            Northcliff Residual Parcel 4 LLC
cr            Nueces County
cr            ON Corp US, Inc. & ON Corp
tee           ON Corp. USA, Inc. and ON Corp.
cr            OTR-Clairemont Square
cr            Office of Attorney General, Pennsylvania Departmen
crcm          Official Committee of Unsecured Creditors
cr            Old Republic Insurance Company
cr            Olympian
intp          Olympian
cr            Orange and Rockland Utilities
intp          P.C. Richard & Son, Inc.
cr            P/A Acadia Pelham Manor, LLC
cr            PECO Energy Company
cr            PL Mesa Pavilions LLC
cr            PM Construction Inc.
cr            PR Christiana LLC
cr            PREIT SERVICES, LLC
cr            PRGL Paxton LP
cr            Pacific Castle Groves, LLC
cr            Panasonic Corporation of North America
cr            Parago, Inc.
intp          Park National Bank
cr            Park Side Realty LP
cr            Parkdale Village, LP
cr            Parker Bullseye, LLC
intp          Parker Central Plaza Ltd
cr            Pat Minnite
cr            Pennsylvania Electric Company
cr            Pep Boys - Manny, Moe & Jack
cr            Perimeter Mall
cr            Petrovich
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           ***** BYPASSED RECIPIENTS (continued) *****
cr            Philips International
cr            Philips International Holding Corp.
cr            Piedmont Natural Gas Company
cr            Plantation Point Development, LLC
cr            Platform-A Inc.
cr            Plaza Las Americas, Inc.
cr            Plaza Las Palmas LLC., Store 449
mvnt          PlumChoice, Inc.
cr            PlumChoice, Inc.
cr            Premier Retail Interiors, Inc.
cr            Premier Retail Networks, Inc
cr            PriceGrabber.com, Inc.
cr            Principal Life Insurance Company
cr            Public Service Company of New Hampshire
cr            Public Service Electric And Gas Company
cr            RD Bloomfield Associates Limited Partnership
cr            RMRG Portfolio TIC, LLC
cr            Raleigh News & Observer
cr            Ramco West Oaks I, LLC
cr            Rancon Realty Fund IV
cr            Ray Mucci’s Inc.
cr            Red Rose Commons Associates, L.P.
cr            Regency Centers, L.P.
unk           Reliance Figueroa Associates, L.P.
cr            Ricardo Benjamin Salinas Pliego
cr            Rolling Acres Plaza Shopping Center
cr            Ronus Meyerland Plaza L.P.
cr            Rossmoor Shops, LLC
cr            Roth Tanglewood LLC
cr            Roth Tanglewood, LLC
cr            Route 146 Millbury LLC
cr            Ruby Hallaian
cr            S.J. Collins Enterprises, Goodman Enterprises, DeH
cr            S.R. Weiner & Associates Inc.
cr            Sacco of Maine, LLC
intp          Sacramento Bee
cr            Salt River Project
intp          San Luis Obispo Tribune
cr            Savitri Cohen
cr            Savitri Cohen
cr            Schimenti Construction Company LLC
cr            Sennheisser Electronic Corp.
unk           Servpro
cr            Shelbyville Road Plaza, LLC
cr            Sherwood
cr            Sherwood America, Inc.
cr            Sherwood Properties, LLC
cr            Shops at Kildeer, LLC
cr            Signal Hill Gateway, LLC
cr            SimVest Real Estate II, LLC
cr            Sirius XM Radio, Inc
cr            Site A, LLC
cr            Sony Pictures Entertainment Inc.
cr            Sony Pictures Home Entertainment Inc.
cr            Source Interlink Media, LLC
cr            South Carolina Electric & Gas Company and Public S
cr            South Texas College
cr            South Texas ISD
cr            Southern California Edison Company
cr            Southern Connecticut Gas Company
cr            Southwest Gas Corporation
cr            Southwinds. Ltd.
cr            Sparkleberry Two Notch, LLC
cr            Starpoint Property Management, LLC
cr            Sun Belt General Contractors, Inc
cr            Swanblossom Investments, LP
cr            Sweetwater Associates, L.P.
intp          Systemax, Inc.
cr            T & T Enterprises
cr            T.D. Farrell Construction, Inc.
cr            THE GOLDENBERG GROUP
cr            THF Chesterfield Two Development, L.L.C.
cr            THF Clarksburg Development One, Limited Liability
cr            THF Harrisonburg Crossing, L.L.C.
cr            THF ONC Development, L.L.C.
cr            THF St. Clairsville Development, L.P.
cr            TPG Management, Inc
cr            Tacoma News, Inc.
cr            Tamarack Village Shopping Center Limited Partnersh
cr            Tanglewood Park LLC
cr            Tanglewood Park, LLC
cr            Tanglewood Park, LLC; Roth Tanglewood, LLC and Luc
cr            Tarrant County
          Case 08-35653-KRH Doc 3364 Filed 05/16/09 Entered 05/17/09 01:16:35                      Desc
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            ***** BYPASSED RECIPIENTS (continued) *****
cr             Taubman Auburn Hills Associates Limited Partnershi
cr             Tax Collector of Madison County, Alabama,   c/o Lynda Hall, Tax Collector
cr             Texas Comptroller of Public Accounts
cr             Texas Comptroller of Public Accounts and Texas Wor
cr             Texas Instruments Incorporated
intp           The Agency for Workforce Innovation
cr             The Balogh Companies
cr             The Balogh Companies
cr             The Brooklyn Union Gas Company d/b/a National Grid
cr             The City Portfolio TIC, LLC
cr             The City of New York
cr             The Cleveland Electric Illuminating Company
cr             The Daniel Group
cr             The Detroit Edison Company
cr             The Hutensky Group
cr             The Leben Family Limited Partnership
cr             The MacNaughton Group
cr             The Morris Companies Affiliates
cr             The PM Company
cr             The Parkes Companies Inc.
cr             The Parkes Companies, Inc. d/b/a Parkes Constructi
cr             The West Campus Square Company, LLC
cr             The Woodmont Company
cr             The Ziegler Companies
cr             Thoroughbred Village Tennessee, GP
cr             Toledo Edison Company
cr             Torrance Towne Center Associates, LLC
cr             Tourboullin Co.
cr             Travis County Hospital District
cr             Travis County Tax Assessor-Collector
mvnt           Tremor Media, Inc.
cr             Tri-City Herald
cr             Triangle Equities Junction LLC
cr             Tritronics, Inc.
cr             Turner Broadcasting System, Inc.
cr             Tutwiler Properties, LTD
cr             U.S. 41 & I 285 Company
cr             UBS Realty Investors, LLC
cr             US Signs, Inc.
cr             UnCommon, Ltd., a Florida Limited Partnership
cr             Union Square Retail Trust
cr             United States of America
cr             Uniwest Commercial Realty
cr             VIWY, L.P.
cr             Vance Baldwin, Inc.
cr             Ventura In Manhattan, Inc.
cr             Verizon Communications Inc.
cr             Virginia Electric and Power Company d/b/a Dominion
cr             WEC 99A-2LLC
cr             Wal-Mart Stores, Inc.
cr             Warner Home Video, a division of Warner Bros. Home
cr             Washington Commons Associates
cr             Washington Green TIC
cr             Washington Real Estate Investment Trust
mvnt           Wayne VF, LLC
cr             Wayne-Dalton Corp.
cr             Weidler Settlement Class
cr             Weingarten Realty Investors and Its Affiliates
intp           Wells Fargo Bank Northwest, National Association
cr             West Marine Products, Inc.
cr             Western Digital Technologies, Inc.
cr             Western Massachusetts Electric Company
cr             Westfield, LLC
cr             Whitestone Development Partners, L.P.
cr             Wichita Eagle
cr             William Foster
cr             William Gower
cr             Windsail Properties
cr             Woodlawn Trustees Incorporated
cr             Yankee Gas Services Company
8679885        American National Insurance Company
8631387        Benderson Development Company, LLC
8631405        Benderson Development Company, LLC
8574814        CCCC
8844408        California Self-Insurers’ Security Fund
8703740        Caribbean Display & Construction, Inc.
8661433        Cleveland Construction, Inc.
8616160        Columbia Plaza
8725222        Concar Enterprises
8725223        Concar Enterprises
8631388        Continental Properties Company, Inc.
8631407        Continental Properties Company, Inc.
8617709        Cosmo-Eastgate, Ltd.
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            ***** BYPASSED RECIPIENTS (continued) *****
8586883        Eagleridge Associates, LLC,
8686079        Giant Eagle, Inc.
8695903        Holyoke Crossing Limited Partnership II
8695921        Holyoke Crossing Limited Partnership II
8700221        Holyoke Crossing Limited Partnership II
8700253        Holyoke Crossing Limited Partnership II
8700255        Holyoke Crossing Limited Partnership II
8596604        JWC/Loftus, LLC
8596607        JWC/Loftus, LLC
8704061        MD GSI Associates LLC
8749717        Macy’s Retail Holdings, Inc.
8598861        Majesco Entertainment Company
8606972        McClatchy Company
8586885        NMC Stratford, LLC
8617713        Northcliff Residual Parcel 4 LLC
8617717        Northcliff Residual Parcel 4 LLC
8596668        Rio Associates Limited Partnership
8703741        SOUTHROADS LLC
8904594        Salem Rockingham LLC
8622658        Shimenti Construction Company, LLC
8679372        Spring Hill Development Partners, GP, Dickson Mana
8586884        Torrance Torrance Towne Center Associates, LLC
8703678        US Signs, Inc.
8574813        VVV
8605305        Ventura In Manhattan, Inc.
8571794        Verizon Wireless
8592402        colorado structures
aty*           Constantinos G. Panagopoulos,    Ballard Spahr Andrews & Ingersoll, LLP,      601 13th Street, NW,
                Suite 1000 South,    Washington, DC 20005-3807
aty*          +David S. Berman,    Riemer & Braunstein,    Three Center Plaza, 6th Floor,     Boston, MA 02108-2003
aty*          +Jeffrey Kurtzman,    Klehr, Harrison, Harvey, Branzburg & Ell,     260 South Broad Street,
                Philadelphia, PA 19102-5021
aty*          +Julie H. Rome-Banks,    Binder & Malter, LLP,    2775 Park Avenue,     Santa Clara, CA 95050-6004
aty*          +Plaza Las Palmas, LLC,    Culbert & Schmitt, PLLC,    30C Catoctin Circle, SE,
                Leesburg, VA 20175-3614
cr*           +610 & San Felipe, Inc.,    c/o David H. Cox, Esquire,     Jackson & Campbell, PC,
                1120 20th Street, NW, Suite 300-S,    Washington, DC 20036-3437
cr*            Amore Construction Company,    c/o John J. Lamoureux,     Carlton Fields, P.A.,    P. O. Box 3239,
                Tampa, FL 33601-3239
cr*           +BB Fonds International 1 USA, L.P.,    c/o Jason Binford,     Haynes and Boone, LLP,
                2323 Victory Avenue, Suite 700,    Dallas, TX 75219-7673
cr*           +Bedford Properties, L.L.C.,    c/o Catherine Guastello,     Quarles & Brady LLP,
                Two North Central Avenue,    Phoenix, AZ 85004-2322
cr*           +Cameron Group Associates LLP,    c/o Andrew M. Brumby, Esq.,     Shutts & Bowen LLP,
                300 S. Orange Avenue,    Suite 1000,    Orlando, FL 32801-5403
cr*           +Chatham County Tax Commissioner,    c/o Daniel T. Powers,     P.O. Box 8321,
                Savannah, GA 31412-8321
cr*           +City of Taylor Michigan,    c/o Kurt M. Kobiljak,    Edelson Building, Suite 200,
                2915 Biddle Avenue,    Wyandotte, MI 48192-5267
cr*           +Cohesion Products, Inc,    c/o Receivable Management Services,     PO Box 5126,
                Timonium, MD 21094-5126
cr*           +Credit Suisse International,    11 Madison Avenue, 5th Floor,     New York, NY 10010-3643
cr*           +DFS SERVICES LLC,    c/o Brian Sirower, Esq.,    QUARLES & BRADY LLP,     Two North Central Avenue,
                Phoenix, AZ 85004-2322
intp*         +DIRECTV, Inc.,    c/o Joseph R. Sgroi,    HONIGMAN MILLER SCHWARTZ AND COHN LLP,
                2290 First National Building,    Detroit, MI 48226-3583
cr*           +Giant Eagle, Inc.,    101 Kappa Drive,    Pittsburgh, PA 15238-2833
cr*           +Hamilton Beach Brands, Inc.,    Bill Ray,    4421 Waterfront Drive,     Glen Allen, VA 23060-3375
cr*           +Homero Alonso Mata,    c/o David G. Reynolds, Esq.,     PO Box 1700,    Corrales, NM 87048-1700
cr*           +IBM Corporation,    c/o Vicky Namken,    13800 Diplomat Dr.,    Dallas, TX 75234-8812
cr*           +ION Audio, LLC,    200 Scenic View Drive,    Suite 201,    Cumberland, RI 02864-1847
cr*           +Iron Mountain Information Management, Inc.,     c/o Frank F. McGinn, Esq.,
                Bartlett Hackett Feinberg P.C.,    155 Federal Street, 9th Floor,      Boston, MA 02110-1610
cr*            Ken Burton, Jr., Manatee County Tax Collector,     PO Box 25300,     Bradenton, FL 34206-5300
cr*           +MDS Realty II, LLC,    c/o Meredith L. Yoder, Esq.,     Parker, Pollard & Brown, P.C.,
                6802 Paragon Place, Suite 300,    Richmond, VA 23230-1655
cr*           +Monarch Alternative Capital, LP,    c/o Andrew Herenstein,     535 Madison Ave.,
                New York, NY 10022-4212
cr*           +North American Roofing Services, Inc.,     c/o Doug Frankey,    3 Winner Circle,
                Arden, NC 28704-3156
cr*           +PNY Technologies, Inc.,    c/o Angela Abreu,    McCarter & English, LLP,     Four Gateway Center,
                100 Mulberry Street,    Newark, NJ 07102-4056
cr*            Paramount Home Entertainment,    c/o Michael L. Tuchin,     Klee, Tuchin, Bogdanoff & Stern LLP,
                1999 Avenue of the Stars, 39th Floor,     Los Angeles, CA 90067-6049
cr*           +Phoenix Property Company,    c/o Jason Binford,    Haynes and Boone, LLP,
                2323 Victory Avenue, Suite 700,    Dallas, TX 75219-7673
cr*           +Prince George’s Station Retail, LLC,     c/o Taylor Development and Land,     7201 Wisconsin Avenue,
                Suite 500,    Bethesda, MD 20814-4848
cr*           +RLV Vista Plaza, LP,    c/o Paul K. Campsen, Esq.,    Kaufman & Canoles, P.C.,     P. O. Box 3037,
                Norfolk, VA 23514-3037
cr*           +TKG Coffee Tree, L.P.,    c/o Eugene Chang,    Stein & Lubin LLP,
                600 Montgomery Street, 14th Floor,    San Francisco, CA 94111-2716
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              ***** BYPASSED RECIPIENTS (continued) *****
 cr*            +Thirty & 141, L.P.,    John E. Hilton,    Carmody MacDonald,    120 S. Central Ave., Ste. 1800,
                  Clayton, MO 63105-1726
 tee*           +US Debt Recovery LLC,    PO Box 5241,    Incline Village, NV 89450-5241
 cr*            +UrbanCal Oakland, II LLC,    c/o Baker & Hostetler, LLP,     ATTN: Laura Lawton Gee,
                  1000 Louisiana Street,    Suite 2000,    Houston, TX 77002-5018
 cr*            +VonWin Capital Management, LP,    261 Fifth Avenue,    22nd Floor,    New York, NY 10016-7701
 cr*            +Vonage Marketing Inc.,    c/o Angelique Electra,    Vice President - Law,    23 Main Street,
                  Holmdel, NJ 07733-2136
 8693221*       +44 North Properties, LLC,    c/o Miles & Stockbridge P.C.,     1751 Pinnacle Drive,   Suite 500,
                  McLean, VA 22102-3833
 8693222*       +44 North Properties, LLC,    c/o Miles & Stockbridge P.C.,     1751 Pinnacle Drive,   Suite 500,
                  McLean, VA 22102-3833
 8590206*       +507 Northgate LLC,    c/o Christopher M. Alston,    1111 - 3rd Ave., #3400,
                  Seattle, WA 98101-3264
 8896620*        CC Hamburg NY Partners, LLC,    c/o Mark B. Conlan, Esq.,     Gibbons P.C.,   One Gateway Center,
                  Newark, NJ 07102-5310
 8782830*        City of Florence,   PO Box 1357,    Florence, KY 41022-1357
 8664584*       +City of Newport News,    Office of the City Attorney,    2400 Washington Ave.,
                  Newport News, VA 23607-4301
 8665345*       +City of Newport News,    Office of the City Attorney,    2400 Washington Ave.,
                  Newport News, VA 23607-4301
 8786555*       +City of Newport News,    Office of the City Attorney,    2400 Washington Ave.,
                  Newport News, VA 23607-4301
 8686257*       +Giant Eagle, Inc.,    101 Kappa Drive,    Pittsburgh PA 15238-2833
 8687445*       +Katsky Korins LLP,    Attn: Steven H. Newman, Esquire,     605 Third Avenue,
                  New York, NY 10158-0180
 8617071*       +Landmark Communications, Inc.,    c/o Paul A. Driscoll,    Pender & Coward, P.C.,
                  222 Central Park Avenue, Suite 400,     Virginia Beach, VA 23462-3026
 8693223*       +Maryland Acquisitions, LLC,    c/o Miles & Stockbridge P.C.,     1751 Pinnacle Drive,   Suite 500,
                  McLean, VA 22102-3833
 8667551*       +National Glass and Gate,    c/o Coface North America, Inc.,
                  50 Millstone Rd., Bldg. 100, Ste. 360,     East Windsor, NJ 08520-1415
 8571095*       +Paramount Home Entertainment,    c/o Michael L. Tuchin,    Klee, Tuchin, Bogdanoff & Stern LLP,
                  1999 Avenue of the Stars, 39th Fl.,     Los Angeles, CA 90067-6049
 8710864*       +Power Sales,   Attn: Toni Evans,    801 N Meadowbrook,    Olathe, KS 66062-5443
 8625007*       +Shimenti Construction Company,    118 North Bedford Road,     Mount Kisco, New York 10549-2553
 8657412*        Southland Acquisitions, LLC,    c/o Thomas G. King / DS Holmgren,
                  Kreis, Enderle, Hudgins & Borsos,     PO Box 4010,   Kalamazoo, MI 49003-4010
 8566900*       +Taubman Landlords,    c/o The Taubman Landlords,    Attn. Andrew S. Conway,
                  200 East Long Lake Road, Suite 300,     Bloomfield Hills, MI 48304-2324
 8583746*       +Vonage Marketing Inc.,    c/o Angelique Electra,    Vice President - Law,    23 Main Street,
                  Holmdel, NJ 07733-2136
                                                                                                  TOTALS: 591, * 56
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.
 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: May 16, 2009                                      Signature:
